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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                                 §
                                       §
UNIVERSITY GENERAL HEALTH              §   CASE NO. 15-31086
SYSTEM, INC., ET AL.,                  §   (Chapter 11 – Jointly Administered)
                                       §
        Debtors.                       §




                          JOINT CHAPTER 11 PLAN OF
                         LIQUIDATION SUBMITTED BY


                   UNIVERSITY GENERAL HEALTH SYSTEM, INC.
                          UGHS AUTIMIS BILLING, INC.
                          UGHS AUTIMIS CODING, INC.
                            UGHS ER SERVICES, INC.
                             UGHS HOSPITALS, INC.
                       UGHS MANAGEMENT SERVICES, INC.
                         UGHS SUPPORT SERVICES, INC.
                      UNIVERSITY GENERAL HOSPITAL, LP
                                     AND
                      UNIVERSITY HOSPITAL SYSTEMS, LLP




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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

IN RE:                                           §
                                                 §
UNIVERSITY GENERAL HEALTH                        §     CASE NO. 15-31086
SYSTEM, INC., ET AL.,                            §     (Chapter 11 – Jointly Administered)
                                                 §
         Debtors.                                §

                            JOINT CHAPTER 11 PLAN OF LIQUIDATION

        University General Health System, Inc., UGHS Autimis Billing, Inc., UGHS Autimis
Coding, Inc., UGHS ER Services, Inc., UGHS Hospitals, Inc., UGHS Management Services,
Inc., UGHS Support Services, Inc., University General Hospital, LP and University Hospital
Systems, LLP file this Joint Chapter 11 Plan of Liquidation to address Claims asserted against
and Equity Interests in the Debtors. Although styled as a joint plan, the Plan constitutes nine (9)
separate plans, i.e., one for each respective Debtor. Consequently, votes will be tabulated
separately for each Debtor with respect to each Debtor’s plan and Claims will be classified and
Distributions will be made based on each Debtor’s respective liability in accordance with the
Plan. To the extent that a particular Debtor does not receive sufficient votes for confirmation of
its Plan, the Plan may be withdrawn as to a particular Debtor without effect on the Plan as to the
remaining Debtors.

ALL HOLDERS OF CLAIMS OR INTERESTS ARE ENCOURAGED TO READ THIS
PLAN AND THE DISCLOSURE STATEMENT CAREFULLY AND IN THEIR
ENTIRETY. ALL HOLDERS OF CLAIMS OR INTERESTS ENTITLED TO VOTE ON
THIS PLAN ARE ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE
STATEMENT CAREFULLY AND IN THEIR ENTIRETY BEFORE VOTING ON THIS
PLAN.

                                          ARTICLE 1
                                         DEFINITIONS

       As used in the Plan, the following terms shall have the respective meanings specified
below. Any term used in the Plan not defined below or herein shall be interpreted in accordance
with the Rules of Construction set forth in Article 2 of this Plan.

        1.1    Administrative Claim. Any cost or expense of administration of the Chapter 11
Cases incurred on or before the Effective Date entitled to priority under § 507(a)(2) and allowed
under § 503(b) of the Bankruptcy Code, including without limitation, any actual and necessary
expenses of preserving the Debtors’ estates, including wages, salaries or commissions for
services rendered after the commencement of the Chapter 11 Cases, certain taxes, fines and
penalties, any actual and necessary post-petition expenses of operating the Debtors’ businesses,
certain post-petition indebtedness or obligations incurred by or assessed against the Debtors in
connection with the conduct of their businesses, or for the acquisition or lease of property, or for

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providing services to any Debtor, including all allowances of compensation or reimbursement of
expenses to the extent allowed by the Bankruptcy Court under the Bankruptcy Code, and any
fees or charges assessed against the Debtors’ estates under chapter 123, title 28, United States
Code. With respect to Administrative Claims which are allowed pursuant to §§ 503 (b)(1),
503(b)(2), 503(b)(3), 503(b)(4), 503(b)(5), 503(b)(6), 503(b)(7), 503(b)(8) or 503(b)(9), there
shall be an Administrative Claim against the Debtors only to the extent of and only after the
entry of a Final Order approving such Administrative Claim following the filing of a motion or
application prior to the Administrative Claim Bar Date.

       1.2    Administrative Claim Bar Date. The last day to file an application for allowance
of an Administrative Claim (other than (i) quarterly U.S. Trustee fees and (ii) Professional Fee
Claims), which shall be 20 days after the Effective Date unless otherwise established by a Final
Order.

      1.3    Allowed Administrative Claim. An Administrative Claim to the extent it is or
becomes an Allowed Claim.

         1.4      Allowed Amount. The amount of an Allowed Claim.

       1.5     Allowed Claim. Any Claim (i) which has been scheduled by the Debtors pursuant
to Bankruptcy Rule 1007 and (a) is not scheduled as disputed, contingent or unliquidated, (b) as
to which no Proof of Claim has been filed and (c) as to which no objection to such scheduled
Claim has been filed; (ii) as to which a timely Proof of Claim has been filed as of the Bar Date
and no objection thereto has been made; or (iii) that has been allowed by a Final Order.

        1.6    Allowed General Unsecured Claim. A General Unsecured Claim to the extent it
is or becomes an Allowed Claim.

        1.7      Allowed Interest. Any Equity Interest on the Record Date that has not been
disallowed pursuant to the terms of the Plan or a Final Order of the Bankruptcy Court. Any
Interest that is allowed solely for purposes of voting to accept or reject this Plan pursuant to an
Order of the Bankruptcy Court shall not be deemed to be an Allowed Interest for purposes of
Distributions under this Plan.

      1.8    Allowed Priority Non-Tax Claim. A Priority Non-Tax Claim to the extent it is or
becomes an Allowed Claim.

       1.9    Allowed Priority Tax Claim. Any Claim, to the extent such Claim is an Allowed
Claim and entitled to priority in payment under § 507(a)(8) of the Bankruptcy Code.

        1.10 Allowed Secured Claim. A Secured Claim of a creditor to the extent such Claim
is an Allowed Claim, and the Lien securing such Claim has not become an Avoided Lien.

      1.11 Allowed Subordinated Claim.           A Subordinated Claim to the extent it is or
becomes an Allowed Claim.

      1.12 Allowed Unsecured Claim. An Unsecured Claim to the extent it is or becomes an
Allowed Claim.

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        1.13 Available Cash. All of the Liquidating Trust’s Cash on hand on any particular
date less (i) amounts reserved on account of Disputed Claims; (ii) amounts reasonably reserved
for unpaid Administrative Claims, Secured Claims, Priority Tax Claims and Priority Non-Tax
Claims; (iii) amounts reasonably required by the Liquidating Trustee to retain Professionals post-
confirmation and the fees and expenses of the Post-Confirmation Committee; and (iv) amounts
reasonably required by the Liquidating Trustee to administer the Liquidating Trust and to
complete the transactions and other actions required under the Plan, including the prosecution of
claims and causes of action owned by the Estates. For purposes of making Distributions
pursuant to this Plan, Available Cash shall be calculated and segregated on a Debtor by Debtor
basis. For purposes of clarity, Available Cash attributable to the sale of an asset by one Debtor
shall not be used to pay the claims of another Debtor when the Distribution is to be paid from
Available Cash under the Plan.

       1.14 Avoidance Action. Any and all rights, claims and causes of action arising under
Sections 506(c), 510, 542, 543, 544, 545, 547, 548, 549, 550, 551, 552(b), 553 or 724 of the
Bankruptcy Code.

       1.15 Avoided Lien. A Lien to the extent it has been set aside, invalidated, or otherwise
avoided pursuant to an Avoidance Action.

      1.16 Bankruptcy Code.           Title 11 of the United States Code, as in effect on the
Confirmation Date.

        1.17 Bankruptcy Court. The unit of the United States District Court for the Southern
District of Texas, Houston Division, having jurisdiction over these Chapter 11 Cases, or in the
event such Court ceases to exercise jurisdiction over these Chapter 11 Cases, such court or
adjunct thereof that exercises jurisdiction over the Chapter 11 Cases in lieu of the United States
Bankruptcy Court for the Southern District of Texas, Houston Division, and any appellate or
other court that is competent to exercise jurisdiction over the confirmation of this Plan.

       1.18 Bankruptcy Rules. The Federal Rules of Bankruptcy Procedure, as amended, and
the Bankruptcy Local Rules for the Southern District of Texas, as applicable to these Chapter 11
Cases, each as in effect on the date of the event described herein.

         1.19     Bar Date. July 6, 2015.

       1.20 Business Day. Any day other than a Saturday, Sunday or any other day on which
commercial banks in Houston, Texas are required or authorized to close by law or executive
order.

       1.21 Cash. Legal tender of the United States of America, denominated in U.S. dollars,
and equivalents thereof.

        1.22 Cause of Action. Any Claim or cause of action, legal or equitable, now owned or
hereafter acquired by any Debtor, whether arising under contract or tort, federal or state law,
including but not limited to Avoidance Actions, whether commenced prior or subsequent to the
Petition Date.


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       1.23 Chapter 11 Cases. The jointly administered cases, Case Nos.15-31086, 15-31088,
15-31091, 15-31092, 15-31093, 15-31094, 15-31095, 15-31097 and 15-31098, filed under
chapter 11 of the Bankruptcy Code by the Debtors and pending before the Bankruptcy Court.

        1.24 Claim. Any (i) right to payment, whether or not such right is reduced to
judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
legal, equitable, secured, or unsecured; or (ii) right to an equitable remedy for breach of
performance if such breach gives rise to a right to payment, whether or not such right to an
equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed,
undisputed, secured or unsecured.

        1.25      Claimant. A person asserting a Claim against any Debtor, their property, or the
Estates.

      1.26        Closing Date.    The Closing Date as defined in the Foundation Purchase
Agreement.

        1.27 Collateral. Any property or interest in property of the Estates subject to a Lien
that is not subject to avoidance under the Bankruptcy Code or otherwise invalid under the
Bankruptcy Code or applicable state law.

       1.28 Committee. The Official Committee of Unsecured Creditors appointed in these
Chapter 11 Cases.

      1.29 Confirmation Date.          The date upon which the Bankruptcy Court enters the
Confirmation Order.

       1.30 Confirmation Hearing. The hearing to be conducted by the Bankruptcy Court to
determine whether to approve the Plan.

       1.31 Confirmation Order. The Order of the Bankruptcy Court approving and
confirming the Plan in accordance with the provisions of chapter 11 of the Bankruptcy Code.

       1.32 Creditor. Any person that holds a Claim against any Debtor that arose or is
deemed to have arisen on or before the Petition Date, including an Allowed Claim against any
Debtor’s Estate of a kind specified in §§ 502(g), 502(h) or 502(i) of the Bankruptcy Code.

        1.33 Cure Costs. The amount necessary to cure all defaults under any executory
contract or any unexpired lease to which a Debtor is a party and to compensate the non-debtor
party for any actual pecuniary loss resulting from such defaults in order to assume and assign the
executory contract or unexpired lease under Sections 365(a) and 365(f) of the Bankruptcy Code.

       1.34 Debtors. University General Health System, Inc., UGHS Autimis Billing, Inc.,
UGHS Autimis Coding, Inc., UGHS ER Services, Inc., UGHS Hospitals, Inc., UGHS
Management Services, Inc., UGHS Support Services, Inc., University General Hospital, LP and
University Hospital Systems, LLP. In singular form, Debtor shall mean any one of the
foregoing.


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       1.35 Debtors in Possession. The Debtors in their capacity as debtors in possession
pursuant to §§ 1107 and 1108 of the Bankruptcy Code.

       1.36 Deficiency Claim. The amount by which an Allowed Secured Claim exceeds the
value of any Collateral securing such Claim as may be determined by the Bankruptcy Court in
accordance with § 506(a) of the Bankruptcy Code. A Deficiency Claim is a General Unsecured
Claim.

        1.37 DIP Credit Facility. The Debtors in Possession credit facility authorized by the
Court’s Final Order (I) Authorizing Secured Post-Petition Financing On A Super Priority Basis
Pursuant To 11 U.S.C. §§363, 364, And 507(b); (II) Granting Relief From The Automatic Stay
Pursuant To 11 U.S.C. §362; And (III) Granting Related Relief [Dkt. No. 423] (the “DIP
Order”), pursuant to which MidCap was granted and holds liens and security interests in all of
the Debtors’ assets as security for the “Obligations” and the “Prepetition Obligations” as defined
in the DIP Order.

       1.38 Disclosure Statement. The Disclosure Statement with respect to this Plan,
including all exhibits and schedules thereto, filed by the Debtors and approved by the Court
pursuant to § 1125 of the Bankruptcy Code, as may be amended or supplemented.

       1.39 Disputed Claim. A Claim against any Debtor as to which an objection has been
filed on or before the deadline for objecting to a Claim and which objection has not been
withdrawn, settled or otherwise resolved by Final Order.

       1.40 Disputed Claims Reserve. A reserve to be held in trust for the benefit of holders
of Disputed Claims in accordance with the provisions of the Plan.

        1.41 Distribution. The Cash and other property required by the Plan to be distributed
to the holders of Allowed Claims and Allowed Interests.

       1.42 Distribution Date. The date, occurring as soon as practicable after the Effective
Date, on which distributions are made pursuant to the terms of the Plan to Holders of Allowed
Administrative Claims; provided, however, that should such Allowed Claims be paid in the
ordinary course of business, the Distribution Date shall be the date such Allowed Claim becomes
payable under the terms of any contract or agreement or applicable non-bankruptcy law.

       1.43 Effective Date. The day selected by the Debtors that is no earlier than the first
Business Day after (i) the date the Confirmation Order becomes a Final Order; and (ii) all
conditions specified in Article 13 hereof have been satisfied or waived.

       1.44 Equity Interest or Interest. Equity Interest or Interest shall have the meaning
ascribed to “equity security” in § 101(16) of the Bankruptcy Code.

      1.45 Equity Interest Holder or Interest Holder. Equity Interest Holder or Interest
Holder shall have the meaning ascribed to “equity security holder” in § 101(17) of the
Bankruptcy Code.



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       1.46 Equity Interest Record Date. The date that the Bankruptcy Court enters an order
approving the Disclosure Statement shall serve as the record date for purposes of Distributions to
Allowed Interests and Allowed Subordinated Interests under the Plan.

        1.47 Estates. The estates created upon the filing by the Debtors of the Chapter 11
Cases pursuant to § 541 of the Bankruptcy Code, together with all rights, claims and interests
pertaining thereto.

       1.48 Fee Procedures Order. The Final Order entered April 27, 2015 at Docket No. 275
governing the compensation of professionals.

       1.49 Final Distribution.       The final Distribution from the Liquidating Trust made
pursuant to the terms of the Plan.

        1.50 Final Order. An order or judgment which has not been reversed, vacated or
stayed and as to which (a) the time to appeal, petition for certiorari or move for new trial, re-
argument or rehearing has expired and to which no appeal, petition for certiorari or other
proceedings for a new trial, re-argument or rehearing shall then be pending, or (b) if an appeal,
writ of certiorari, new trial, re-argument or rehearing thereof has been sought, such order or
judgment of the Bankruptcy Court shall have been affirmed by the highest court to which such
order was appealed, or certiorari shall have been denied or a new trial, re-argument or rehearing
shall have been denied or resulted in no modification of such order, and the time to take any
further appeal, petition for certiorari or move for a new trial, re-argument or rehearing shall have
expired.

         1.51     Foundation. Foundation Surgical Hospital Holdings, LLC.

       1.52 Foundation Purchase Agreement. The Purchase and Sale Agreement between the
Debtors and Foundation that governs the sale of the Transferred Assets which is attached as Plan
Exhibit 1.

      1.53 Foundation Sale. The sale of the Transferred Assets in accordance with the
Foundation Purchase Agreement.

      1.54 General Unsecured Claim.             A Claim other than a Secured Claim, an
Administrative Claim, a Priority Claim, or a Subordinated Claim.

       1.55 Governmental Unit.          The term Governmental Unit shall have the meaning
assigned in the Bankruptcy Code.

        1.56 Initial Distribution Date. The date that is the earlier of (i) 90 days following the
Effective Date; (ii) such other date as ordered by the Bankruptcy Court; or (iii) such date as
determined by the Liquidating Trustee after consultation with the Post-Confirmation Committee.
It shall be the intention of the Liquidating Trustee and the Post-Confirmation Committee to
affect the maximum reasonable level of Distributions to holders of Allowed Claims as quickly as
possible.



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       1.57 Intercompany Claims. All Claims by one Debtor against another Debtor or
otherwise existing between any Debtors. For the avoidance of doubt, the Senior Living
Receivable, as defined in the Foundation Purchase Agreement, is not an Intercompany Claim.

      1.58 Interest Holder. Any holder or owner of an Equity Interest on the Equity Interest
Record Date.

       1.59 IRS. The Internal Revenue Service as well as any other division or agency of the
United States Government involved in matters related to income or employment taxes, including
the United States Department of Justice, Tax Division.

         1.60 IRS Installment Note. The promissory note to be issued pursuant to the
Foundation Purchase Agreement by University General Hospital, LP to the Debtors and
assignable to the IRS in full satisfaction of the Pre-petition Federal Payroll Tax Claim. The IRS
Installment Note is payable in four equal annual installments commencing on the first
anniversary of the Closing Date with a final payment due not later than February 27, 2020, which
note shall be in negotiable form, not subject to the terms of the Foundation Purchase Agreement,
and assignable to the IRS such that, once assigned to the IRS pursuant to the Plan or otherwise,
the IRS shall be a bona fide purchaser; provided, however, (i) the note shall be unsecured and
(ii) the terms and conditions of the note, including the term for installment payments, shall
comply with the provisions of Section 1129(a)(9)(C) of the Bankruptcy Code governing payment
to taxing authorities.

       1.61 Legal Proceeding. The term Legal Proceeding shall mean any action, arbitration,
audit, hearing, investigation, tax assessment, assessment, litigation or suit (whether civil,
criminal, administrative, investigative or informal) commenced, brought, conducted or heard by
or before, or otherwise involving, any Governmental Unit or arbitrator related to the Debtors.

       1.62 Liability. Any direct or indirect liability, indebtedness, obligation, commitment,
expense, claim, deficiency, deferred income, guaranty or endorsement of or by any Person of any
type, whether known, unknown, accrued, absolute, contingent, matured or unmatured.

       1.65 Lien. A charge against or interest in property to secure payment of a debt or
performance of an obligation which has not been avoided or invalidated under any provision of
the Bankruptcy Code or other applicable law.

        1.66 Liquidating Trust. The entity created pursuant to Article 7.2 of this Plan to which
all holders of Claims shall look for satisfaction of their Claims unless otherwise specifically set
forth to the contrary in this Plan.

        1.67 Liquidating Trust Agreement. The trust agreement approved and entered into in
accordance with the Plan pursuant to which the Liquidating Trust will be established and
administered. A copy of the Liquidating Trust Agreement will be filed no later than 7 days prior
to the deadline to object to confirmation of this Plan.

       1.68 Liquidating Trustee. The person designated by the Committee not later than 3
Business Days prior to the Confirmation Date to serve as the Liquidating Trustee under the
Liquidating Trust Agreement and pursuant to the terms of this Plan, or any successor Liquidating

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Trustee appointed pursuant to the terms of this Plan or such other person as appointed by the
Bankruptcy Court.

       1.69 MidCap.         MidCap Funding IV Trust (successor by assignment to MidCap
Financial Trust).

      1.70 MidCap Secured Claim. The Secured Claim based on the outstanding amount
owed under the DIP Credit Facility. The MidCap Secured Claim is an Allowed Super-Priority
Administrative Claim and a Secured Claim.

       1.71 Net Sales Proceeds. The net proceeds received by the Debtors from the
Foundation Sale, after any applicable hold-backs and, if applicable, payments made by the
Debtors at Closing for accrued but unpaid Professional Fees that have either been previously
approved by the Bankruptcy Court or are otherwise payable pursuant to the Fee Procedures
Order.

        1.72 Noticing Agent. Upshot Services LLC, the Court-appointed noticing, claims and
balloting agent in these Cases [Docket No. 173].

       1.73 Payment Date. One or more dates identified by the Liquidating Trustee, after
consultation with the Post-Confirmation Committee on which Distributions are made to holders
of Allowed Claims from Available Cash.

        1.74 Person. An individual, a corporation, a partnership, an association, a joint stock
company, a joint venture, an estate, a trust, an unincorporated association or organization, a
governmental unit (as that term is defined in the Bankruptcy Code) or any agency or subdivision
thereof or any other entity.

       1.75 Petition Date. February 27, 2015, the date on which the Debtors filed the
voluntary chapter 11 petitions commencing these Chapter 11 Cases.

       1.76 Plan. This Joint Chapter 11 Plan of Liquidation, as it may be amended or
modified from time to time.

        1.77 Plan Ballot. The form of ballot that the Debtors will transmit to Creditors and
Interest Holders who are, or may be, entitled to vote on the Plan.

       1.78 Plan Documents.         Any and all documents contemplated to be executed in
connection with this Plan.

        1.79 Plan Rate. The rate of interest, if any, that will be paid on Claims but only to the
extent that this Plan specifies that interest will be paid on such Claims. For all non-tax claims,
the Plan Rate shall be 5% simple interest. The Plan Rate for tax claims shall be the applicable
non-bankruptcy statutory rate determined as of the calendar month in which the Confirmation
Order is entered. Interest shall be calculated from the Petition Date to each Payment Date.

       1.80 Post-Confirmation Committee. The post-confirmation oversight committee to be
appointed by the Committee in accordance with this Plan.

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        1.81 Pre-Petition Federal Payroll Tax Claim. All unpaid FICA and FUTA Liabilities
of the Debtors and their Affiliates, including the Debtors’ and their Affiliates’ respective current
professionals, agents, attorneys, accountants, officers, directors, managers and employees, to the
IRS relating to periods prior to the Petition Date, including but not limited to priority claims
under § 507(a)(8) of the Bankruptcy Code, as well as all interest and penalties thereon.

       1.82 Priority Claim. Any Claim to the extent entitled to priority in payment under §
507(a) of the Bankruptcy Code, including Pre-Petition Federal Payroll Tax Claims.

        1.83 Priority Non-Tax Claim. Any Claim (other than an Administrative Claim or a
Priority Tax Claim) to the extent entitled to priority in payment under § 507(a) of the Bankruptcy
Code including, but not limited to, (i) Claims of an employee of the Debtors for wages, salaries,
or commissions, including vacation, severance or sick leave pay, earned within one hundred and
eighty (180) days prior to the Petition Date (to the extent of $12,475 per employee) as set forth in
§ 507(a)(4) of the Bankruptcy Code; (ii) Claims for contribution to an employee benefit plan as
set forth in § 507(a)(5) of the Bankruptcy Code; (iii) Claims for deposits of up to $2,775 placed
by consumers with the Debtors as set forth in § 507(a)(7) of the Bankruptcy Code; (iv) Claims
based upon any commitment by the Debtors to a Federal depository institutions regulatory
agency to maintain the capital of an insured depository institution as set forth in § 507(a)(9); and
(v) Claims for death or personal injury resulting from the operation of a motor vehicle or vessel
if such operation was unlawful because the Debtors were intoxicated from using alcohol, a drug
or another substance as set forth in § 507(a)(10).

        1.84 Priority Tax Claim. Any Claim entitled to priority in payment under § 507(a)(8)
of the Bankruptcy Code. A Claim based upon an assessed ad valorem tax that is secured by a
statutory lien on property that was administered during these Chapter 11 Cases is a Secured
Claim to the extent of the value of the property administered. Otherwise, such Claim is a
General Unsecured Claim.

        1.85 Pro Rata. The proportion that the dollar amount of an Allowed Claim or Allowed
Interest in a Class bears to the aggregate amount of all Allowed Claims or Allowed Interests in
such Class.

        1.86 Professional Fee Claims. Administrative Claims for Professional Fees from the
Petition Date through the Effective Date, as well as fees, expenses and other reimbursable costs
incurred after the Effective Date in connection with the preparation and filing of fee applications
with the Bankruptcy Court in respect of Professional Fee Claims.

       1.87 Professional Fees. All fees, costs and expenses incurred in these Chapter 11
Cases by any professional person (within the meaning of §§ 327, 328 or 1103 of the Bankruptcy
Code or otherwise) and awarded by Final Order of the Bankruptcy Court pursuant to §§ 330 or
503(b) or any other provision of the Bankruptcy Code and any professional fees, costs and
expenses which have been allowed pursuant to this Plan or by Final Order of the Bankruptcy
Court.




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       1.88 Professionals. Any Court-approved professional Person, including lawyers,
accountants, financial advisors, investment bankers and restructuring advisors, employed by the
Debtors or the Committee in these Chapter 11 Cases at any time before the Effective Date.

        1.89 Protected Persons.       Protected Persons shall have the meaning set forth in
Article 11.4.

        1.90 Rights of Action. Includes (a) any avoidance, recovery, subordination or other
action of the Debtors, the Estates or the Liquidating Trust, (b) any Cause of Action of the
Debtors, the Estates or the Liquidating Trust, (c) any objection or other challenge to a Claim, and
(d) any objection or other challenge to an Interest.

        1.91 Sale Order. The Order (a) Authorizing the Sale of Assets Free and Clear of All
Liens, Claims, Encumbrances and Other Interests, (b) Approving the Asset Purchase Agreement,
(c) Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired
Leases, and (d) Granting Related Relief entered by the Bankruptcy Court on November 9, 2015
[Docket No. 691] and approving, among other things, the Foundation Sale pursuant to the terms
of the Foundation Purchase Agreement.

        1.92 Schedules. Each of the Debtors’ Schedules of Assets and Liabilities, as may be
amended or supplemented, and filed with the Bankruptcy Court in accordance with § 521(a)(1)
of the Bankruptcy Code.

       1.93 Secured Claim. A Claim to the extent of the value, as may be determined by the
Bankruptcy Court pursuant to § 506(a) of the Bankruptcy Code, of any interest in property of
any Debtor’s Estate securing such Claim, or any Claim to the extent that it is subject to setoff
under § 553 of the Bankruptcy Code. To the extent that the value of such interest is less than the
amount of the Claim which has the benefit of such security, such Claim is a Deficiency Claim.

       1.94 Subordinated Claim. An Unsecured Claim that is subordinated pursuant to 11
U.S.C. § 510 or other applicable non-bankruptcy law pursuant to Final Order.

       1.95 Transferred Assets. The assets being transferred to Foundation in accordance
with the Foundation Purchase Agreement.

        1.96 Unsecured Claim. A Claim not secured by a charge, mortgage or lien against or
interest in property of the Estate, including but not limited to any Deficiency Claim and any
claim for damages resulting from the rejection of an executory contract or lease.

                                        ARTICLE 2
                                 RULES OF CONSTRUCTION

        Unless otherwise specified, all section, article, schedule or exhibit references in this Plan
are to the respective section in, article of, or schedule or exhibit to, this Plan, as same may be
amended, waived, or modified from time to time. The schedules and exhibits to this Plan are
hereby incorporated herein by reference as if fully set forth herein. Except as otherwise
expressly provided herein, a term used herein that is not defined herein shall have the meaning
assigned to that term in the Bankruptcy Code or the Bankruptcy Rules. The words “herein,”

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“hereof” and “hereunder” and other words of similar import refer to this Plan as a whole and not
to any particular section, subsection or clause contained in this Plan, unless the context requires
otherwise. Whenever the words “include,” “includes,” or “including” are used in this Plan, such
words are deemed to be followed by the words “without limitation” whether or not they are in
fact followed by such words or words of like import. Whenever from the context it appears
appropriate, each term stated in either the singular or the plural includes the singular and the
plural, and pronouns stated in the masculine, feminine or neuter gender include the masculine,
feminine and the neuter. The article headings contained in the Plan are for reference purposes
only and shall not affect in any way the meaning or interpretation of the Plan.

        The rules of construction contained in § 102 of the Bankruptcy Code shall apply to the
construction of this Plan, except for § 102(5) of the Bankruptcy Code. The headings in this Plan
are for convenience of reference only and shall not limit or otherwise affect the provisions
hereof.

                                      ARTICLE 3
                        CLASSIFICATION OF CLAIMS AND INTERESTS

         The Claims against and Interests in the Debtors are classified as set forth in this Article.

        3.1     Administrative Claims and Priority Tax Claims. In accordance with § 1123(a)(l)
of the Bankruptcy Code, certain Administrative Claims and Priority Tax Claims have not been
classified and thus are excluded from the Classes of Claims and Interests set forth in this Article
III. These unclassified Claims are treated as follows:

                3.1.1      Administrative MidCap Secured Claim. The Administrative MidCap
         Secured Claim shall be paid in full and in Cash on the earlier of (i) the Closing of the
         Foundation Sale; and (ii) the Effective Date from the Net Sales Proceeds.

                 3.1.2       Other Administrative Claims. Other Allowed Administrative Claims
         arising under 11 U.S.C. § 503(b), including Cure Costs against the Debtors but excluding
         Administrative Claims assumed by Foundation under the Foundation Purchase
         Agreement, will be paid in Cash and in full by the Liquidating Trustee from the Net Sales
         Proceeds on the later of (i) the Distribution Date, (ii) the date on which such
         Administrative Claim becomes an Allowed Claim; or (iii) such other date as the
         Liquidating Trustee and the holder of the Allowed Administrative shall agree. Allowed
         Administrative Claims that are not secured by a valid, perfected, post-petition Lien are
         not entitled to post-petition interest or legal fees and expenses.

                3.1.3      Priority Tax Claims. Priority Tax Claims, other than the Pre-petition
         Federal Payroll Tax Claim, will be paid in Cash and in full by the Liquidating Trustee
         from the Net Sales Proceeds on the later of (i) the Distribution Date, (ii) the date on
         which such Priority Tax Claim becomes an Allowed Claim; or (iii) such other date as the
         Liquidating Trustee and the holder of the Allowed Priority Tax Claim shall agree.

                3.1.4     The Pre-petition Federal Payroll Tax Claim shall be satisfied by the
         Debtors’ assignment to the IRS of the IRS Installment Note, which assignment shall


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         constitute full and final satisfaction and discharge of the Pre-Petition Federal Payroll Tax
         Claim and permanently terminate any and all Legal Proceedings related thereto.

        3.2       Classified Claims Against the Debtors. Claims against the Debtors are classified
as follows:

         University General Health System, Inc.

                3.2.1      Class A1 – Miscellaneous Secured Claims Against University General
         Health System, Inc. Class A1 is comprised of all Allowed Secured Claims against
         University General Health System, Inc. other than the Allowed MidCap Secured Claim.

                 3.2.2      Class A2 – Priority Non-Tax Claims Against University General
         Health System, Inc. Class A2 is comprised of all Allowed Priority Non-Tax Claims
         against University General Health System, Inc.

                 3.2.3      Class A3 – General Unsecured Claims Against University General
         Health System, Inc. Class A3 is comprised of all Allowed General Unsecured Claims
         against University General Health System, Inc.

                3.2.4      Class A4 – Subordinated Claims Against University General Health
         System, Inc. Class A4 is comprised of all Allowed Subordinated Claims against
         University General Health System, Inc.

                3.2.5      Class A5 – Interests in University General Health System, Inc. Class
         A5 is comprised of all Allowed Interests in University General Health System, Inc.

         UGHS Autimis Billing, Inc.

                 3.2.6      Class B1 – Miscellaneous Secured Claims Against UGHS Autimis
         Billing, Inc. Class B1 is comprised of all Allowed Secured Claims against UGHS
         Autimis Billing, Inc. other than the Allowed MidCap Secured Claim.

               3.2.7        Class B2 – Priority Non-Tax Claims Against UGHS Autimis Billing,
         Inc. Class B2 is comprised of all Allowed Priority Non-Tax Claims against UGHS
         Autimis Billing, Inc.

               3.2.8        Class B3 – General Unsecured Claims Against UGHS Autimis Billing,
         Inc. Class B3 is comprised of all Allowed General Unsecured Claims against UGHS
         Autimis Billing, Inc.

                 3.2.9  Class B4 – Subordinated Claims Against UGHS Autimis Billing, Inc.
         Class B4 is comprised of all Allowed Subordinated Claims against UGHS Autimis
         Billing, Inc.

               3.2.10      Class B5 – Interests in UGHS Autimis Billing, Inc.           Class B5 is
         comprised of all Allowed Interests in UGHS Autimis Billing, Inc.


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         UGHS Autimis Coding, Inc.

               3.2.11      Class C1 – Miscellaneous Secured Claims Against UGHS Autimis
         Coding, Inc. Class C1 is comprised of all Allowed Secured Claims against UGHS
         Autimis Coding, Inc. other than the Allowed MidCap Secured Claim.

               3.2.12      Class C2 – Priority Non-Tax Claims Against UGHS Autimis Coding,
         Inc. Class C2 is comprised of all Allowed Priority Non-Tax Claims against UGHS
         Autimis Coding, Inc.

               3.2.13     Class C3 – General Unsecured Claims Against UGHS Autimis
         Coding, Inc. Class C3 is comprised of all Allowed General Unsecured Claims against
         UGHS Autimis Coding, Inc.

               3.2.14   Class C4 – Subordinated Claims Against UGHS Autimis Coding, Inc.
         Class C4 is comprised of all Allowed Subordinated Claims against UGHS Autimis
         Coding, Inc.

               3.2.15      Class C5 – Interests in UGHS Autimis Coding, Inc. Class C5 is
         comprised of all Allowed Interests in UGHS Autimis Coding, Inc.

         UGHS ER Services, Inc.

                3.2.16      Class D1 – Miscellaneous Secured Claims Against UGHS ER
         Services, Inc. Class D1 is comprised of all Allowed Secured Claims against UGHS ER
         Services, Inc. other than the Allowed MidCap Secured Claim.

                3.2.17  Class D2 – Priority Non-Tax Claims Against UGHS ER Services, Inc.
         Class D2 is comprised of all Allowed Priority Non-Tax Claims against UGHS ER
         Services, Inc.

                3.2.18     Class D3 – General Unsecured Claims Against UGHS ER Services,
         Inc. Class D3 is comprised of all Allowed General Unsecured Claims against UGHS ER
         Services, Inc.

                3.2.19    Class D4 – Subordinated Claims Against UGHS ER Services, Inc.
         Class D4 is comprised of all Allowed Subordinated Claims against UGHS ER Services,
         Inc.

               3.2.20      Class D5 – Interests in UGHS ER Services, Inc.        Class D5 is
         comprised of all Allowed Interests in UGHS ER Services, Inc.

         UGHS Hospitals, Inc.

                 3.2.21     Class E1 – Miscellaneous Secured Claims Against UGHS Hospitals,
         Inc. Class E1 is comprised of all Allowed Secured Claims against UGHS Hospitals, Inc.
         other than the Allowed MidCap Secured Claim.


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                3.2.22    Class E2 – Priority Non-Tax Claims Against UGHS Hospitals, Inc.
         Class E2 is comprised of all Allowed Priority Non-Tax Claims against UGHS Hospitals,
         Inc.

                3.2.23   Class E3 – General Unsecured Claims Against UGHS Hospitals, Inc.
         Class E3 is comprised of all Allowed General Unsecured Claims against UGHS
         Hospitals, Inc.

                 3.2.24    Class E4 – Subordinated Claims Against UGHS Hospitals, Inc. Class
         E4 is comprised of all Allowed Subordinated Claims against UGHS Hospitals, Inc.

                 3.2.25     Class E5 – Interests in UGHS Hospitals, Inc. Class E5 is comprised of
         all Allowed Interests in UGHS Hospitals, Inc.

         UGHS Management Services, Inc.

                 3.2.26     Class F1 – Miscellaneous Secured Claims Against UGHS
         Management Services, Inc. Class F1 is comprised of all Allowed Secured Claims against
         UGHS Management Services, Inc. other than the Allowed MidCap Secured Claim and
         the secured claim asserted by the IRS against UGHS Management Services, Inc.

                3.2.27    Class F2 – Priority Non-Tax Claims Against UGHS Management
         Services, Inc. Class F2 is comprised of all Allowed Priority Non-Tax Claims against
         UGHS Management Services, Inc.

                3.2.28     Class F3 – General Unsecured Claims Against UGHS Management
         Services, Inc. Class F3 is comprised of all Allowed General Unsecured Claims against
         UGHS Management Services, Inc.

                3.2.29     Class F4 – Subordinated Claims Against UGHS Management
         Services, Inc. Class F4 is comprised of all Allowed Subordinated Claims against UGHS
         Management Services, Inc.

               3.2.30      Class F5 – Interests in UGHS Management Services, Inc. Class F5 is
         comprised of all Allowed Interests in UGHS Management Services, Inc.

         UGHS Support Services, Inc.

                3.2.31      Class G1 – Miscellaneous Secured Claims Against UGHS Support
         Services, Inc. Class G1 is comprised of all Allowed Secured Claims against UGHS
         Support Services, Inc. other than the Allowed MidCap Secured Claim.

               3.2.32       Class G2 – Priority Non-Tax Claims Against UGHS Support Services,
         Inc. Class G2 is comprised of all Allowed Priority Non-Tax Claims against UGHS
         Support Services, Inc.




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                3.2.33     Class G3 – General Unsecured Claims Against UGHS Support
         Services, Inc. Class G3 is comprised of all Allowed General Unsecured Claims against
         UGHS Support Services, Inc.

                3.2.34  Class G4 – Subordinated Claims Against UGHS Support Services, Inc.
         Class G4 is comprised of all Allowed Subordinated Claims against UGHS Support
         Services, Inc.

               3.2.35      Class G5 – Interests in UGHS Support Services, Inc. Class G5 is
         comprised of all Allowed Interests in UGHS Support Services, Inc.

         University General Hospital, LP.

                3.2.36     Class H1 – Miscellaneous Secured Claims Against University General
         Hospital, LP. Class H1 is comprised of all Allowed Secured Claims against University
         General Hospital, LP other than the Allowed MidCap Secured Claim.

                3.2.37     Class H2 – Priority Non-Tax Claims Against University General
         Hospital, LP. Class H2 is comprised of all Allowed Priority Non-Tax Claims against
         University General Hospital, LP.

                3.2.38     Class H3 – General Unsecured Claims Against University General
         Hospital, LP. Class H3 is comprised of all Allowed General Unsecured Claims against
         University General Hospital, LP.

               3.2.39      Class H4 – Subordinated Claims Against University General Hospital,
         LP. Class H4 is comprised of all Allowed Subordinated Claims against University
         General Hospital, LP.

               3.2.40      Class H5 – Interests in University General Hospital, LP. Class H5 is
         comprised of all Allowed Interests in University General Hospital, LP.

         University Hospital Systems, LLP

                3.2.41     Class I1 – Miscellaneous Secured Claims Against University Hospital
         Systems, LLP. Class I1 is comprised of all Allowed Secured Claims against University
         Hospital Systems, LLP other than the Allowed MidCap Secured Claim.

                3.2.42     Class I2 – Priority Non-Tax Claims Against University Hospital
         Systems, LLP. Class I2 is comprised of all Allowed Priority Non-Tax Claims against
         University Hospital Systems, LLP.

                3.2.43     Class I3 – General Unsecured Claims Against University Hospital
         Systems, LLP. Class I3 is comprised of all Allowed General Unsecured Claims against
         University Hospital Systems, LLP.




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                3.2.44     Class I4 – Subordinated Claims Against University Hospital Systems,
         LLP. Class I4 is comprised of all Allowed Subordinated Claims against University
         Hospital Systems, LLP.

               3.2.45      Class I5 – Interests in University Hospital Systems, LLP. Class I5 is
         comprised of all Allowed Interests in University Hospital Systems, LLP.

                                        ARTICLE 4
                          IMPAIRMENT OF CLASSES AND RESOLUTION
                                OF CLAIM CONTROVERSIES

        4.1    Impaired Classes. Only holders of Claims that are in impaired Classes may vote
on this Plan. The following Classes of Claims and Interests are impaired under this Plan:

         University General Health System, Inc.

                  4.1.1     Class A1 – Miscellaneous Secured Claims Against University General
                            Health System, Inc.
                  4.1.2     Class A3 – General Unsecured Claims Against University General Health
                            System, Inc.
                  4.1.3     Class A4 – Subordinated Claims Against University General Health
                            System, Inc.
                  4.1.4     Class A5 – Interests in University General Health System, Inc.

         UGHS Autimis Billing, Inc.

                  4.1.5     Class B1 – Miscellaneous Secured Claims Against UGHS Autimis Billing,
                            Inc.
                  4.1.6     Class B3 – General Unsecured Claims Against UGHS Autimis Billing,
                            Inc.
                  4.1.7     Class B4 – Subordinated Claims Against UGHS Autimis Billing, Inc.
                  4.1.8     Class B5 – Interests in UGHS Autimis Billing, Inc.

         UGHS Autimis Coding, Inc.

                  4.1.9  Class C1 – Miscellaneous Secured Claims Against UGHS Autimis
                         Coding, Inc.
                  4.1.10 Class C3 – General Unsecured Claims Against UGHS Autimis Coding,
                         Inc.
                  4.1.11 Class C4 – Subordinated Claims Against UGHS Autimis Coding, Inc.
                  4.1.12 Class C5 – Interests in UGHS Autimis Coding, Inc.

         UGHS ER Services, Inc.

                  4.1.13 Class D1 – Miscellaneous Secured Claims Against UGHS ER Services,
                         Inc.
                  4.1.14 Class D3 – General Unsecured Claims Against UGHS ER Services, Inc.
                  4.1.15 Class D4 – Subordinated Claims Against UGHS ER Services, Inc.

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                  4.1.16 Class D5 – Interests in UGHS ER Services, Inc.

         UGHS Hospitals, Inc.

                  4.1.17    Class E1 – Miscellaneous Secured Claims Against UGHS Hospitals, Inc.
                  4.1.18    Class E3 – General Unsecured Claims Against UGHS Hospitals, Inc.
                  4.1.19    Class E4 – Subordinated Claims Against UGHS Hospitals, Inc.
                  4.1.20    Class E5 – Interests in UGHS Hospitals, Inc.

         UGHS Management Services, Inc.

                  4.1.21 Class F1 – Miscellaneous Secured Claims Against UGHS Management
                         Services, Inc.
                  4.1.22 Class F3 – General Unsecured Claims Against UGHS Management
                         Services, Inc.
                  4.1.23 Class F4 – Subordinated Claims Against UGHS Management Services,
                         Inc.
                  4.1.24 Class F5 – Interests in UGHS Management Services, Inc.

         UGHS Support Services, Inc.

                  4.1.25 Class G1 – Miscellaneous Secured Claims Against UGHS Support
                         Services, Inc.
                  4.1.26 Class G3 – General Unsecured Claims Against UGHS Support Services,
                         Inc.
                  4.1.27 Class G4 – Subordinated Claims Against UGHS Support Services, Inc.
                  4.1.28 Class G5 – Interests in UGHS Support Services, Inc.

         University General Hospital, LP.

                  4.1.29 Class H1 – Miscellaneous Secured Claims Against University General
                         Hospital, LP.
                  4.1.30 Class H3 – General Unsecured Claims Against University General
                         Hospital, LP.
                  4.1.31 Class H4 – Subordinated Claims Against University General Hospital, LP.
                  4.1.32 Class H5 – Interests in University General Hospital, LP.

         University Hospital Systems, LLP.

                  4.1.33 Class I1 – Miscellaneous Secured Claims Against University Hospital
                         Systems, LLP.
                  4.1.34 Class I3 – General Unsecured Claims Against University Hospital
                         Systems, LLP.
                  4.1.35 Class I4 – Subordinated Claims Against University Hospital Systems,
                         LLP.
                  4.1.36 Class I5 – Interests in University Hospital Systems, LLP.



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       4.2    Unimpaired Classes. Holders of Claims that are in unimpaired Classes are
deemed to have accepted the Plan and are not entitled to vote on this proposed Plan. The
following Classes of Claims are not impaired under this Plan:

         University General Health System, Inc.

                  4.2.1     Class A2 – Priority Non-Tax Claims Against University General Health
                            System, Inc.

         UGHS Autimis Billing, Inc.

                  4.2.2     Class B2 – Priority Non-Tax Claims Against UGHS Autimis Billing, Inc.

         UGHS Autimis Coding, Inc.

                  4.2.3     Class C2 – Priority Non-Tax Claims Against UGHS Autimis Coding, Inc.

         UGHS ER Services, Inc.

                  4.2.4     Class D2 – Priority Non-Tax Claims Against UGHS ER Services, Inc.

         UGHS Hospitals, Inc.

                  4.2.5     Class E2 – Priority Non-Tax Claims Against UGHS Hospitals, Inc.

         UGHS Management Services, Inc.

                  4.2.6     Class F2 – Priority Non-Tax Claims Against UGHS Management
                            Services, Inc.

         UGHS Support Services, Inc.

                  4.2.7     Class G2 – Priority Non-Tax Claims Against UGHS Support Services,
                            Inc.

         University General Hospital, LP.

                  4.2.8     Class H2 – Priority Non-Tax Claims Against University General Hospital,
                            LP.

         University Hospital Systems, LLP

                  4.2.9     Class I2 - Priority Non-Tax Claims Against University Hospital Systems,
                            LLP.

       4.3   Controversy Concerning Classification, Impairment or Voting Rights. In the
event a controversy or dispute should arise involving issues related to the classification,
impairment or voting rights of any Creditor or Interest Holder under the Plan, prior to the
Confirmation Date, the Bankruptcy Court may, after notice and a hearing, determine such

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controversy. Without limiting the foregoing, the Bankruptcy Court may estimate for voting
purposes the amount of any contingent or unliquidated Claim, the fixing or liquidation of which,
as the case may be, would unduly delay the administration of the Chapter 11 Cases. In addition,
the Bankruptcy Court may in accordance with § 506(b) of the Bankruptcy Code conduct
valuation hearings to determine the Allowed Amount of any Secured Claim.

                                     ARTICLE 5
                            TREATMENT OF IMPAIRED CLASSES

       5.1     Classes A1, B1, C1, D1, E1, F1, G1, H1 and I1. In the sole discretion of the
Liquidating Trustee, after consultation with the Post-Confirmation Committee, the holder of an
Allowed Claim in Classes A1, B1, C1, D1, E1, F1, G1, H1 and I1 shall receive either (i) the
proceeds of the Collateral securing such Claimant’s Allowed Claim after satisfaction in full of all
superior liens up to the Allowed Amount of the Claimant’s Allowed Secured Claim; or (ii) the
Collateral securing such Claimant’s Allowed Secured Claim in full and final satisfaction of such
Claim.

        5.2     Classes A3, B3, C3, D3, E3, F3, G3, H3 and I3. The Liquidating Trustee shall
distribute Available Cash Pro Rata to holders of Allowed Claims in Classes A3, B3, C3, D3, E3,
F3, G3, H3 and I3 and/or the Disputed Claims Reserve pursuant to Articles 8.4 and 8.5 herein, if
applicable, on the Initial Distribution Date. The Liquidating Trustee shall make additional future
distributions to holders of Allowed Claims in Classes A3, B3, C3, D3, E3, F3, G3, H3 and I3
from Available Cash on subsequent Payment Dates as the Liquidating Trustee determines
appropriate after consultation with the Post-Confirmation Committee. In the event that any of
Class A3, B3, C3, D3, E3, F3, G3, H3 and I3 are paid in full and there exists remaining
Available Cash as to the respective Debtor, holders of Allowed Claims in such class shall receive
interest at the Plan Rate. Any Available Cash remaining after the satisfaction of the applicable
classes in this paragraph shall be distributed in accordance with Article 5.3 and, if applicable,
Article 5.4 herein.

        5.3     Classes A4, B4, C4, D4, E4, F4, G4, H4 and I4. Each holder of an Allowed
Subordinated Claim in Classes A4, B4, C4, D4, E4, F4, G4, H4 and I4 shall receive a Pro Rata
share of Available Cash up to the Allowed Amount of such Claim after payment in full of all
Allowed Claims in the corresponding superior class set forth in Article 5.2 above. For purposes
of clarity, a holder of an Allowed Class C4 Claim is entitled to a Distribution if and only if all
Allowed Class C3 Claims are paid in full with interest irrespective of the distributions to holders
of Allowed Claims in Classed A3, B3, D3, E3, F3, G3, H3 and I3. In the event that any of Class
A4, B4, C4, D4, E4, F4, G4, H4 and I4 are paid in full and there exists remaining Available Cash
as to the respective Debtor, holders of Allowed Claims in such class shall receive interest at the
Plan Rate. Any Available Cash remaining after the satisfaction of the applicable classes in this
paragraph shall be distributed in accordance with Article 5.5 herein.

        5.4    Classes A5, B5, C5, D5, E5, F5, G5, H5 and I5. All Equity Interests in Classes
A5, B5, C5, D5, E5, F5, G5 and I5 shall be canceled as of the Effective Date. All Equity
Interests in Class H5 is a Transferred Asset under the Foundation Purchase Agreement, shall
remain in existence and, to the extent not yet transferred as of the Effective Date, shall be
conveyed to Foundation in accordance with the Foundation Purchase Agreement and Sale Order.

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Any Available Cash after payment in full of Classes A4, B4, C4, D4, E4, F4, G4 and I4 shall be
considered Available Cash for the benefit of Classes A5, B5, C5, D5, E5, F5, G5 and I5, to be
distributed based on the respective interest, if any, of each Debtor in remaining Available Cash.

                                       ARTICLE 6
                            TREATMENT OF UNIMPAIRED CLASSES

        6.1     Classes A2, B2, C2, D2, E2, F2, G2, H2 and I2. Allowed Claims in Classes A2,
B2, C2, D2, E2, F2, G2, H2 and I2 will be paid in Cash and in full by the Liquidating Trustee
from the Net Sales Proceeds on the later of (i) the Distribution Date, (ii) the date on which such
Claim becomes an Allowed Claim; or (iii) such other date as the Liquidating Trustee and the
holder of the Allowed Claim in Classes A2, B2, C2, D2, E2, F2, G2, H2 or I2 shall agree.
Allowed Claims in Classes A2, B2, C2, D2, E2, F2, G2, H2 and I2 are not entitled to post-
petition interest or post-petition legal fees and expenses.

                                      ARTICLE 7
                               MEANS OF IMPLEMENTATION

        7.1      Closing of the Foundation Sale. As a condition to the Effective Date, the Debtors
shall consummate the Foundation Sale in accordance with the Foundation Purchase Agreement
and Sale Order. The Foundation Purchase Agreement shall be deemed incorporated into this
Plan as if set forth herein.

        7.2     Creation of Liquidating Trust. On the Effective Date, the Liquidating Trust shall
be created. The Liquidating Trust shall be governed by the Liquidating Trust Agreement, the
Plan and the Confirmation Order. The terms of the employment of the Liquidating Trustee shall
be set forth in the Liquidating Trust Agreement or the Confirmation Order. On the Effective
Date, the Debtors shall transfer the Net Sales Proceeds to the Liquidating Trust. In addition, the
Debtors will transfer to the Liquidating Trust the Retained Assets, as defined in the Foundation
Purchase Agreement. All transfers to the Liquidating Trust shall be free and clear of all liens,
claims, interests and encumbrances. Except as specifically set forth herein, holders of Allowed
Claims shall look solely to the Liquidating Trust for the satisfaction of their Claims. For federal
income tax purposes, the transfer of the identified assets to the Liquidating Trust will be deemed
to be a transfer to the holders of Allowed Claims (who are the Liquidating Trust beneficiaries),
followed by a deemed transfer by such beneficiaries to the Liquidating Trust.

       7.3     Continuation of Operations/Corporate Existence. From and after the Effective
Date of the Plan, the Liquidating Trustee is authorized to take such actions as are necessary to
wind up the Debtors’ affairs, with the exception of University General Hospital, LP, which is
being sold pursuant to the Foundation Sale, and complete a dissolution under applicable law.

        7.4    General Powers of the Liquidating Trustee. Subject to any express limitations,
the Liquidating Trustee, on behalf of the Liquidating Trust, shall have all of the rights, powers
and privileges set forth in this Plan, the Confirmation Order and the Liquidating Trust
Agreement. The Liquidating Trustee is authorized and shall have the obligation to take all such
actions as in his/her judgment are necessary and appropriate to effectuate the purposes of the
Plan, including but not limited to the following:

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                  7.4.1     Make all Distributions contemplated under the Plan;

                 7.4.2       Consistent with maintaining the value and liquidating the residual
         assets of the Liquidating Trust, invest in time or demand deposits, including certificates
         of deposit issued by any bank approved as a depository institution by the United States
         Trustee’s office, United States Treasury bonds and other securities guaranteed by the full
         faith and credit of the United States of America or any agency thereof;

                 7.4.3      Supervise and administer the resolution, settlement and payment of
         Claims and Interests and the distributions to the holders of Allowed Claims and Allowed
         Interests in accordance with this Plan;

                7.4.4      Enter into any agreement on behalf of the Liquidating Trust required
         by or consistent with the Plan and perform all of the obligations required of the
         Liquidating Trustee under the Liquidating Trust or this Plan;

                 7.4.5      Abandon any of the assets of the Liquidating Trust if the Liquidating
         Trustee, after consultation with the Post-Confirmation Committee, concludes that such
         assets are of no material benefit to the Creditors or Interest Holders;

                 7.4.6      Participate in or initiate any proceeding before the Bankruptcy Court
         or any other court of appropriate jurisdiction and participate as a party or otherwise in
         any Legal Proceeding, administrative proceeding, arbitrative proceeding or other non-
         judicial proceeding and litigate claims on behalf of the Liquidating Trust, including
         without limitation all state and federal causes of action or any other litigation which
         constitute an asset of the Liquidating Trust and pursue to settlement or judgment such
         actions;

                 7.4.7     Participate as a party-in-interest in any proceeding before the United
         States Bankruptcy Court involving the Chapter 11 Cases;

                7.4.8      Act in the name of or in the place of the Liquidating Trust in any
         action before the United States Bankruptcy Court or any other judicial or administrative
         body;

                 7.4.9     Take actions and exercise remedies against any entity that owes money
         to the Liquidating Trust, including without limitation, the remedies available under any
         deed of trust, security agreement, contract, promissory note, bond, guarantee or other
         instrument or document; make compromises regarding any deed of trust, security
         agreement, promissory note, bond, guarantee or other instrument or document; and,
         declare or waive defaults regarding any deed of trust, security agreement, promissory
         note, bond, guarantee or other instrument or document;

               7.4.10     Subject to the limitations provided under Article 7.7.2, select and
         employ such professionals, consultants, agents or employees as the Liquidating Trustee
         deems necessary to assist in the administration of the affairs of the Liquidating Trust and
         compensate such persons;


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               7.4.11     Hold any unclaimed distribution or payment to the holder of an
         Allowed Claim in accordance with this Plan;

                7.4.12     Propose any amendment, modification or supplement to this Plan or
         the Liquidating Trust’s governance documents;

               7.4.13     File dissolution/termination documents         with   the   appropriate
         governmental agencies to dissolve the Liquidating Trust;

                 7.4.14      Receive, conserve and manage the assets of the Liquidating Trust and
         sell, pursuant to 11 U.S.C. § 363(f), 11 U.S.C. § 1123(a)(5) and this Plan, or otherwise
         dispose of such assets for a price and upon such terms and conditions as the Liquidating
         Trustee deems most beneficial to the Creditors and Interest Holders and execute such
         deeds, bills of sale, assignments and other instruments in connection therewith;

                7.4.15      Open and maintain bank accounts on behalf of or in the name of the
         Liquidating Trust;

                7.4.16     Pay all taxes, make all tax withholdings and file tax returns and tax
         information returns and make tax elections by and on behalf of the Liquidating Trust;

                7.4.17      Pay all lawful expenses, debts, charges and liabilities of the
         Liquidating Trust;

                7.4.18   Enforce all provisions of this Plan, including all rights under the
         Foundation Purchase Agreement or similar agreement and any allocation of Net Sales
         Proceeds;

                7.4.19     Protect, perfect and defend the title to any of the assets of the
         Liquidating Trust and enforce any bonds, mortgages or other obligations or liens owned
         by the Liquidating Trust;

                7.4.20      Carry insurance coverage, including insurance to protect the
         Liquidating Trust, the Liquidating Trustee and the Post-Confirmation Committee against
         claims brought against the Liquidating Trustee, the Liquidating Trustee or the Post-
         Confirmation Committee acting within their capacities with the Liquidating Trust, in such
         amounts as they deem advisable;

                 7.4.21       Establish such reserves for taxes, assessments and other expenses of
         administration of the Liquidating Trust (including without limitation the Disputed Claims
         Reserve) as may be necessary and appropriate for the proper operation of matters incident
         to the affairs of the Liquidating Trust; and

                 7.4.22     Exercise such other powers and duties as are necessary or appropriate
         in the Liquidating Trustee’s discretion to accomplish the purposes of this Plan.




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       7.5     Obligations of the Liquidating Trustee. Notwithstanding anything in this Plan or
the Liquidating Trust Agreement to the contrary, the Liquidating Trustee shall have the
following duties:

                7.5.1        Subject to the provisions of Section 8.1 and 8.2 of the Plan, the
         Liquidating Trustee shall consult with the Post-Confirmation Committee regarding all
         material issues affecting the Liquidating Trust, including the (i) timing and amount of
         Distributions; (ii) resolution of Claims objections, (iii) the pursuit of Causes of Action,
         and (iv) the sale and other disposition of assets. If the Post-Confirmation Committee
         submits a written objection to the Liquidating Trustee within 10 days of such consultation
         regarding any anticipated action, the Liquidating Trustee shall seek Bankruptcy Court
         approval prior to taking such action.

                7.5.2      The Liquidating Trustee shall consult with and obtain approval of the
         Post-Confirmation Committee regarding the retention of, and fee arrangements with
         professionals representing the Liquidating Trust. If the Liquidating Trustee wishes to
         employ a professional to which the Post-Confirmation Committee fails to provide its
         approval within 10 days of receiving a written request from the Liquidating Trustee, the
         Liquidating Trustee may seek approval to employ such professional from the Bankruptcy
         Court.

                  7.5.3       The Liquidating Trustee shall cause to be prepared a quarterly report
         illustrating (i) receipts and disbursements during the prior quarter, (ii) a schedule of all
         asset dispositions, (iii) a schedule of Distributions made, and (iv) a summary listing of the
         status of the resolution of objections to Claims and Causes of Action. Such quarterly
         report shall be distributed to the Post-Confirmation Committee within fifteen (15)
         business days after the end of the relevant report preparation period.

                 7.5.4      The Liquidating Trustee shall maintain records and books of account
         relating to the Liquidating Trust’s assets, the management thereof and all transactions
         undertaken by the Liquidating Trustee on behalf of the Liquidating Trust. The
         Liquidating Trustee shall also maintain records and books of account relating to all
         Distributions contemplated under the Plan.

         7.6      Limitations on the Powers of the Liquidating Trustee.

                 7.6.1      In the event that the Post-Confirmation Committee makes a written
         request to the Liquidating Trustee that the Liquidating Trustee take some action and the
         Liquidating Trustee either fails or refuses to take such action with 15 days of such
         request, the Post-Confirmation Committee may seek authority from the Bankruptcy Court
         to take such action on behalf of the Liquidating Trust. Any party may object to any such
         request.

                7.6.2      Notwithstanding anything in the Plan or the Liquidating Trust
         Agreement to the contrary, the Liquidating Trust shall not include any Transferred Assets
         or Specifically Assumed Liabilities and the Liquidating Trustee shall not have power
         over any such assets, liabilities, Causes of Action or claims related thereto, except (i) for

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         liquidating and satisfying Cure Costs and (ii) for Post-Petition Accounts Payable (as
         defined in the Foundation Purchase Agreement) that are not Specifically Assumed
         Liabilities (as defined in the Foundation Purchase Agreement).

        7.7     The Committee. The Committee shall continue in existence until the Effective
Date at which time the Committee shall be terminated. On the Effective Date, a Post-
Confirmation Committee shall be formed. The Post-Confirmation Committee shall be comprised
of three (3) members designated by the Committee at least three (3) Business Days prior to the
commencement of the Confirmation Hearing. In the event of death or resignation of any
member of the Post-Confirmation Committee, (i) the remaining members of the Post-
Confirmation Committee appointed by the Committee shall have the right to designate a
successor. If a Post-Confirmation Committee member assigns or releases its Claims against the
Liquidating Trust or releases the Liquidating Trust of the obligation to pay its Claim, such act
shall constitute a resignation from the Post-Confirmation Committee. Until a vacancy on the
Post-Confirmation Committee is filled, the Post-Confirmation Committee shall function in its
reduced number. Upon Final Distribution, the Post-Confirmation Committee shall be dissolved
and the members thereof shall be released and discharged of and from all further authority,
duties, responsibilities and obligations related to and arising from their service as Post-
Confirmation Committee members.

        7.8     The Post-Confirmation Committee. The members of the Post-Confirmation
Committee shall undertake their duties as specified in the Plan. In serving as a member of the
Post-Confirmation Committee, such members shall not assume or be deemed to have assumed
any liability to Creditors, Interest Holders, the Debtors, the Liquidating Trust, the Liquidating
Trustee, or any other parties in interest in the Chapter 11 Cases and shall not be liable for any
acts or omissions while acting in that capacity, except for acts or omissions in bad faith and acts
or omissions constituting malfeasance, gross negligence or willful misconduct. The Post-
Confirmation Committee shall have the right to retain counsel or other professionals without
further order of the Bankruptcy Court, who shall be paid their reasonable fees and expenses by
the Liquidating Trust. In addition, the members of the Post-Confirmation Committee shall be
entitled to reimbursement from the Liquidating Trust of their reasonable expenses incurred in
connection with their duties as members of the Post-Confirmation Committee. The Bankruptcy
Court shall retain jurisdiction to hear any disputes relating to the fees and expenses of the Post-
Confirmation Committee’s professionals, which disputes, if any, shall be resolved by the
Bankruptcy Court after notice and hearing.

         7.9    Resignation/Removal of the Liquidating Trustee. The Liquidating Trustee may
resign at any time by filing a written notice of resignation with the Bankruptcy Court. Any such
resignation shall become effective on the earlier to occur of (i) sixty (60) days after the filing
date of such notice; or (ii) the appointment of a successor Liquidating Trustee. The Post-
Confirmation Committee may remove the Liquidating Trustee at its discretion upon unanimous
vote of all members without approval of the Bankruptcy Court, provided, however, that the Post-
Confirmation Committee shall provide the Liquidating Trustee with thirty (30) days written notice
of its intent to remove the Liquidating Trustee. If the Liquidating Trustee believes that his/her
removal is not in the best interests of Creditors, then the Liquidating Trustee may seek
Bankruptcy Court approval to continue as Liquidating Trustee. If such authority is sought, the
Liquidating Trustee shall continue in his/her capacity as Liquidating Trustee pending a Final

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Order resolving the issue. All fees and expenses incurred by the Liquidating Trustee and the Post-
Confirmation Committee in pursuit of the removal or continuation of the Liquidating Trustee
shall be paid by the Liquidating Trust.

       7.10 Appointment of Successor Liquidating Trust. In the event of the death,
resignation or removal of the Liquidating Trustee, the Post-Confirmation Committee shall
designate a successor Liquidating Trustee. Any successor Liquidating Trustee appointed
hereunder shall execute and file a statement accepting such appointment and agreeing to be
bound by the terms of the Plan and upon such filing, the successor Liquidating Trustee shall
immediately become vested with all the rights, powers, trusts and duties of the Liquidating
Trustee.

     7.11 Rights and Duties of the Post-Confirmation Committee. The Post-Confirmation
Committee shall:

                7.11.1     have the right to review, approve and object to settlements and
         proposed prosecution, release or abandonment of objections to Claims, Claims or Causes
         of Action by the Liquidating Trustee in accordance with this Plan;

                 7.11.2     have the right to review, approve and object to proposed sales and
         other dispositions of assets belonging to the Liquidating Trust;

                7.11.3       be vested with authority to remove the Liquidating Trustee, or any
         successor Liquidating Trustee, appointed pursuant this Plan and in accordance with the
         terms of this Plan;

                 7.11.4     perform such additional functions as may be agreed to by the
         Liquidating Trustee, or are otherwise provided for in this Plan, the Confirmation Order,
         or are provided for by further Order of the Court entered after the Effective Date; and

                7.11.5       consult with the Liquidating Trustee in connection with any other
         matters related to the Plan or the Liquidating Trust Agreement.

        7.12 Compensation Procedures.            The Liquidating Trust, the Post-Confirmation
Committee, and all professionals employed by them shall be entitled to payment of their fees and
reimbursement of all reasonable expenses on a monthly basis pursuant to the terms of the Fee
Procedures Order, provided, however, that no professional shall be required to provide notice of
the monthly fee statements to the Office of the United States Trustee, the payment due upon the
Liquidating Trustee’s receipt of invoices shall be of 100% of fees and expenses, and the
professionals shall not be required to file fee applications unless objections to such professionals’
fee statements are properly served in accordance with the Fee Procedures Order.




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                                      ARTICLE 8
                        CLAIM/INTEREST OBJECTION PROCEDURES,
                       TREATMENT OF DISPUTED CLAIMS/INTERESTS
                         AND PROCEDURE FOR ASSERTING CLAIMS

        8.1    Objection Process. Subject to the limitations provided under Article 7, the
Liquidating Trustee on behalf of the Liquidating Trust shall have the sole right to object to the
allowance of any Claims or Interests provided for under the Plan. Subject to the preceding
sentence, all objections shall be litigated to Final Order; provided, however, that the Liquidating
Trustee shall have the authority to compromise, settle or otherwise resolve all objections, for any
Claim filed in the amount of $25,000 or less without approval of the Bankruptcy Court or notice
to the Post-Confirmation Committee. For all Claims in excess of $25,000, the Liquidating
Trustee shall provide the Post-Confirmation Committee with 10 days written notice of any
proposed settlement. If no objection is served on the Liquidating Trustee within 10 days of the
date of such notice, the Post-Confirmation Committee shall be deemed to have consented to such
settlement and the Liquidating Trustee may settle such Claim without approval of any other
person or entity. If the Post-Confirmation Committee objects to any proposed settlement, the
Liquidating Trustee shall either (i) withdraw the settlement; or (ii) bring the matter before the
Bankruptcy Court for final resolution after notice and hearing. Unless otherwise ordered by the
Bankruptcy Court, the Liquidating Trustee shall file and serve all objections to Claims and
Equity Interests no later than (i) 120 days after the later of (a) the Effective Date; or (b) the date
on which a proof of claim, proof of interest or request for payment is filed with the Bankruptcy
Court or (ii) such other date as may be approved by the Bankruptcy Court after notice and
hearing.

        8.2     Filing of Claims and Causes of Action. Subject to the limitations provided under
Article 7, the Liquidating Trustee shall have the exclusive right to file and prosecute any Claims
and Causes of Action on behalf of the Liquidating Trust, including all derivative Causes of
Action. The Liquidating Trustee shall have the authority to compromise, settle or otherwise
resolve all Claims and Causes of Action filed or asserted in the amount of $25,000 or less
without approval of the Bankruptcy Court or notice to the Post-Confirmation Committee. For all
Claims and Causes of Action in excess of $25,000, the Liquidating Trustee shall provide the
Post-Confirmation Committee with 10 days written notice of any proposed settlement. If no
objection is served on the Liquidating Trustee within 10 days of the date of such notice, the Post-
Confirmation Committee shall be deemed to have consented to such settlement and the
Liquidating Trustee may settle such Claim or Cause of Action without approval of any other
person or entity. If the Post-Confirmation Committee objects to any proposed settlement, the
Liquidating Trustee shall either (i) withdraw the settlement; or (ii) bring the matter before the
Bankruptcy Court for final resolution after notice and hearing.

        8.3     Disputed Claims Reserve. A Disputed Claims Reserve shall be established by the
Liquidating Trustee for the treatment of Disputed Claims. The Disputed Claims Reserve shall be
either held in a separate bank account from all other funds held by the Liquidating
Trust/Liquidating Trustee or segregated by book entry in the Liquidating Trustee’s accounting
records. The Liquidating Trustee shall deposit into a Disputed Claims Reserve an amount equal
to the Pro Rata share of the Distribution allocable to such Disputed Claims, in accordance with
the distribution scheme contemplated in the Plan, as if such Claims and/or Equity Interests were

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Allowed Claims or Equity Interests. Amounts deposited into the Disputed Claims Reserve shall
be held in trust for the benefit of the holders of Disputed Claims pending a determination of their
entitlement thereto under the terms of the Plan. Once such Disputed Claim is determined by
Final Order or settlement to be an Allowed Claim, the Liquidating Trustee is authorized to pay
the Allowed Amount of such Claim without further approval from or notice to any person or
entity.

        8.4     Distributions to Holders of Disputed Claims. Within 10 Business Days after such
time as a Disputed Claim becomes an Allowed Claim or Equity Interest, but in no event earlier
than the Initial Distribution Date, any Distributions reserved for such Allowed Claim or Equity
Interest shall be released from the Disputed Claims Reserve and delivered to the holder of such
Allowed Claim or Equity Interest in an amount proportionate to the Allowed Amount of any
such Claim or Equity Interest. In the event that the Disputed Claim is disallowed in whole or in
part, or otherwise settled in an amount less than the Disputed Claim amount, the disallowed or
reduced portion of such Claim or Equity Interest shall be distributed from the Disputed Claim
Reserve to holders of Allowed Claims or Equity Interests as Available Cash on the next Payment
Date in accordance with the Plan without further approval from or notice to any person or entity.

       8.5   Disallowance of Late Filed Proofs of Claim. Except as otherwise provided in the
Plan, any proof of claim filed by the holder of such Claim after the Bar Date is hereby
disallowed.

         8.6      Provisions Governing Distributions.

                8.6.1       Record Date for Claims and Equity Interests. The record date for
         Distributions to Allowed Claims and Allowed Interests under this Plan shall be the date
         the Bankruptcy Court enters its order approving the Disclosure Statement. For purposes
         of Distributions to holders of Allowed Claims, the Liquidating Trustee will rely on the
         claims docket maintained by the Noticing Agent except to the extent a notice of transfer
         of Claim or Interest has been filed with the Court prior to the record date pursuant to
         Bankruptcy Rule 3001. For purposes of Distributions on account of Equity Interests, the
         Liquidating Trustee will rely on the relevant stock transfer ledger(s).

                  8.6.2    Delivery of Distributions to Holders of Allowed Claims. Subject to
         Bankruptcy Rule 9010, Distributions to holders of Allowed Claims will be made at the
         address of each such holder as set forth on the proofs of claim filed by such holders, or at
         the last known address of such holder if no proof of claim is filed, unless the holder of the
         Allowed Claim has otherwise notified the Liquidating Trustee in writing of a change of
         address. If any holder’s Distribution is returned as undeliverable, it will be treated in
         accordance with Article 8.6.4 herein. The Liquidating Trustee may, but shall not be
         required to make any Distribution of less than $25.00.

                 8.6.3       Delivery of Distributions to Holders of Allowed Equity Interests.
         Distributions to holders of Allowed Equity Interests, to the extent they are entitled to
         distributions under the Plan, will be made at the address of the registered holder of each
         such Equity Interest as set forth in the relevant stock transfer ledger(s). If any holder’s
         distribution is returned as undeliverable, no further distributions to such holder will be

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         made unless and until the Liquidating Trustee is notified in writing of such holder’s then
         current address.

                8.6.4      Unclaimed Distributions. The Liquidating Trustee shall file a Notice
         of Distribution within ten Business Days of the date on which Distributions are made
         under the Plan. All claims for undeliverable Distributions must be made no later than the
         60th day following the date that the Notice of Distribution is filed. After such date, all
         unclaimed Distributions will revert to the Liquidating Trust for distribution in accordance
         with this Plan and the remaining Claim or Equity Interest of any holder with respect to
         such Distribution will be discharged and forever barred.

                 8.6.5     Uncashed Checks. Checks issued in respect of Allowed Claims and/or
         Equity Interests will be null and void if not negotiated within ninety (90) days after the
         date of issuance thereof. Distributions with respect to such un-negotiated checks will
         revert to the Liquidating Trust for distribution in accordance with this Plan and the
         remaining Claim or Equity Interest of any holder with respect to such Distribution will be
         discharged and forever barred.

                                   ARTICLE 9
                    EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       9.1     Rejection of Executory Contracts and Unexpired Leases. All executory contracts
and unexpired leases that are not assumed and assigned to Foundation pursuant to the Foundation
Purchase Agreement are rejected, unless otherwise dealt with by the Plan or the Confirmation
Order, or any other Order of the Court entered prior to the Effective Date, or which is the subject
of a motion to assume pending on the Effective Date.

        9.2    Claims Based on Rejection of Executory Contracts or Unexpired Leases.
Damages arising from the rejection of an executory contract or unexpired lease shall be a
General Unsecured Claim against the Debtor that is a party to the rejected executor contract or
unexpired leases unless subordinated under applicable law. Any Claim for damages arising from
the rejection of an executory contract or unexpired lease must be asserted in a proof of claim
filed with the Bankruptcy Court no later than 20 days following the earlier of: (a) the date of
entry of an order of the Bankruptcy Court approving such rejection, or (b) the Effective Date of
the Plan. Any Claims not filed within such times shall be forever barred from assertion against
the Debtors, the Liquidating Trust or the Liquidating Trustee. The Liquidating Trustee shall mail
a notice to all known affected parties of (i) the Debtors’ rejection of executory contracts and
unexpired leases and (i) the deadline for asserting claims for damages arising from the rejection
of such executory contracts and unexpired leases.

                                 ARTICLE 10
            EFFECT OF REJECTION BY ONE OR MORE CLASSES OF CLAIMS

        10.1 Impaired Classes to Vote. Each impaired class of Claims and Interests shall be
entitled to vote separately to accept or reject the Plan. A holder of a Disputed Claim which has
not been temporarily allowed for purposes of voting on the Plan may vote only such Disputed
Claim in an amount equal to the portion, if any, of such Claim or Equity Interest shown as fixed,

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liquidated and undisputed in the Debtors’ Schedules and is not the subject of a subsequently filed
objection as to such fixed, liquidated, undisputed amount.

        10.2 Acceptance by Class. A class shall have accepted the Plan if the Plan is accepted
by at least two-thirds (2/3) in amount and more than one-half (1/2) in number of the Allowed
Claims or Equity Interests of such class that have voted to accept or reject the Plan.

        10.3 Reservation of Cramdown Rights. In the event that any impaired class shall fail
to accept this Plan in accordance with § 1129(a) of the Bankruptcy Code, the Debtors reserve the
right to request the Bankruptcy Court to confirm the Plan in accordance with the provisions of
§ 1129(b) of the Bankruptcy Code as to any or all of the Debtors.

                                       ARTICLE 11
                                EFFECT OF CONFIRMATION

        11.1 Legally Binding Effect. The provisions of this Plan shall bind all Creditors and
Interest Holders, whether or not they accept this Plan. On and after the Effective Date, all
holders of Claims shall be precluded and forever enjoined from asserting any (i) Claim against
the Debtors, the Liquidating Trust or their assets or properties based on any transaction or other
activity of any kind that occurred prior to the Confirmation Date except as permitted under the
Plan; and (ii) derivative claims, including claims against third parties asserting alter ego claims,
fraudulent transfer claims, guaranty claims or any type of successor liability based on acts or
omissions of the Debtors.

        11.2 Limited Discharge of Debtors and Injunction. The entry of the Confirmation
Order will operate as a general resolution with prejudice, as of the Effective Date, of all pending
Legal Proceedings, if any, against the Debtors and their assets and properties and any
proceedings not yet instituted against the Debtors or their assets and properties, except as
otherwise provided in the Plan. Except as otherwise expressly provided in the Plan or the
Confirmation Order, all Persons who have held, may have held, hold, or may hold Claims
against the Debtors are permanently enjoined on and after the Effective Date from (a)
commencing or continuing in any manner any action or other proceeding of any kind against the
Debtors or their property, the Liquidating Trust or the Liquidating Trustee, with respect to any
such Claim, (b) the enforcement, attachment, collection or recovery by any manner or means of
any judgment, award, decree or order with respect to any such Claim against the Debtors or their
property, or the Liquidating Trust or the Liquidating Trustee, (c) creating, perfecting, or
enforcing any encumbrance of any kind against the Debtors or their property, or the Liquidating
Trust or the Liquidating Trustee, with respect to such Claim, (d) asserting any right of
subrogation of any kind against any obligation due to the Debtors or the property of the Debtors
or the Estates with respect to any such Claim and (e) asserting any right of setoff or recoupment
against the Debtors or the Estates except as specifically permitted by § 553 of the Bankruptcy
Code. Unless otherwise provided in the Plan or by order of the Bankruptcy Court, all injunctions
or automatic stays provided for in these cases pursuant to § 105, if any, or § 362 of the
Bankruptcy Code, or otherwise, and in existence on the Confirmation Date will remain in full
force and effect until the Effective Date.



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        11.3 Complete Discharge of University General Hospital, LP. In addition to the
foregoing section and pursuant to § 1141(d) of the Bankruptcy Code, and except as otherwise
specifically provided in the Plan or the Confirmation Order, the distributions, rights, and
treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release,
effective as of the Effective Date, of all Claims, Liabilities, Interests, and Causes of Action of
any nature whatsoever, including any interest accrued on Claims or Interests from and after the
Petition Date, whether known or unknown, against, liabilities of, Liens on, obligations of, rights
against, and Interests in, University General Hospital, LP or its assets or properties, regardless of
whether any property shall have been distributed or retained pursuant to the Plan on account of
such Claims and Interests, including demands, liabilities, and Causes of Action that arose before
the Effective Date, any liability (including withdrawal liability) to the extent such Claims or
Interests relate to services performed by employees of the Debtors prior to the Effective Date and
that arise from a termination of employment or a termination of any employee or retiree benefit
program, regardless of whether such termination occurred prior to or after the Effective Date,
any contingent or non-contingent liability on account of representations or warranties issued on
or before the Effective Date, and all debts of the kind specified in §§ 502(g), 502(h), or 502(i) of
the Bankruptcy Code, in each Chapter 11 Case whether or not: (a) a Proof of Claim or Interest
based upon such debt, right, Claim, or Interest is Filed or deemed Filed pursuant to § 501 of the
Bankruptcy Code; (b) a Claim or Interest based upon such Claim, debt, right, or Interest is
Allowed pursuant to § 502 of the Bankruptcy Code; or (c) the Holder of such a Claim or Interest
has accepted the Plan. Subject to the terms of the Plan and the Confirmation Order, any default
by the Debtors with respect to any Claim or Interest that existed immediately prior to or on
account of the Filing of the Chapter 11 Cases shall be deemed satisfied on the Effective Date.
Subject to the terms of the Plan, the Confirmation Order shall be a judicial determination of
discharge of all liabilities of University General Hospital, LP and all successors thereto. As
provided in § 524 of the Bankruptcy Code, subject to the terms of the Plan, such discharge shall
void any judgment against University General Hospital, LP or any successors thereto at any time
obtained to the extent it relates to a Claim or Interest discharged, and operates as an injunction
against the prosecution of any action against the University General Hospital, LP or its property
and assets to the extent it relates to a discharged Claim or Interest.

         11.4 Limited Protection of Certain Parties in Interest. Neither (a) the Debtors, the
Liquidating Trustee, Foundation or any of their respective employees, officers, directors, agents,
representatives, affiliates, attorneys, financial advisors, or any other professional persons
employed by any the Debtors, the Liquidating Trustee or Foundation, nor (b) each Professional
for the Debtors or any of their employees, officers, directors, agents, representatives, affiliates,
attorneys, financial advisors, or any other professional persons employed by any of them, nor (c)
the Committee and each of its members or any of their employees, officers, directors, agents,
representatives, affiliates, attorneys, financial advisors, or any other professional persons
employed by any of them, nor (d) the Post-Confirmation Committee and each of its members or
any of their employees, officers, directors, agents, representatives, affiliates, attorneys, financial
advisors, or any other professional persons employed by any of them (the persons identified in
(a), (b), (c) and (d) are collectively referred to as “Protected Persons”), shall have or incur any
liability to any Person or Entity under any theory of liability for any act or omission occurring on
or after the Petition Date in connection with or related to the Debtors, the Chapter 11 Cases, or
the Estates, including, but not limited to, (i) formulating, preparing disseminating, implementing,
confirming, consummating or administering this Plan (including soliciting acceptances or

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rejections thereof); or (ii) the Disclosure Statement or any contract, instrument, release or other
agreement or document entered into or any action taken or omitted to be taken in connection
with this Plan, except for acts constituting willful misconduct, gross negligence, or ultra vires
activity and in all respects such Protected Persons shall be entitled to rely in good faith upon the
advice of counsel. In any action, suit or Legal Proceeding by any Person contesting any action
by, or non-action of any Protected Person as constituting willful misconduct, gross negligence, or
ultra vires activity or not being in good faith, the reasonable attorneys’ fees and costs of the
prevailing party will be paid by the losing party and as a condition to going forward with such
action, suit, or Legal Proceeding at the outset thereof, all parties thereto will be required to
provide appropriate proof and assurances of their capacity to make such payments of reasonable
attorneys’ fees and costs in the event they fail to prevail.

        11.5 Indemnification. The Liquidating Trust shall indemnify each Person identified as
a Protected Person against any and all costs and expenses (including attorneys’ fees) incurred by
any of them in defending against post-Confirmation Date claims that are based on actions
allegedly taken (or not taken) by them in their respective capacities relating to the Debtors, the
Liquidating Trust or this Plan; provided, however, that no Protected Person shall be entitled to
indemnification under this Plan for the costs and expenses of defending a cause of action in
which it is ultimately judicially determined that such Protected Person was grossly negligent or
acted fraudulently or with willful misconduct in performing such Protected Person’s duties
hereunder or under any Final Order of the Bankruptcy Court or applicable law, or ultra vires
activity. Any Protected Person entitled to indemnification under this section shall have a priority
distribution right that is senior to the holders of Allowed General Unsecured Claims against the
Liquidating Trust. The Liquidating Trustee may use the Liquidating Trust’s Assets (as an
expense of consummating this Plan) to purchase indemnification insurance to satisfy any
potential indemnification claims that may arise under this section.

        11.6 Continuation of Anti-Discrimination Provisions of Bankruptcy Code.                    A
Governmental Unit may not deny, revoke, suspend, or refuse to renew a license, permit, charter,
franchise, or other similar grant to, condition such a grant to, or discriminate with respect to such
a grant against, the Debtors, the Liquidating Trust, the Liquidating Trustee or another Person
with whom the Debtors have been or are associated or affiliated, solely because of the
commencement, continuation, or termination of the case or because of any provision of the Plan
or the legal effect of the Plan, and the Confirmation Order will constitute an express injunction
against any such discriminatory treatment by a Governmental Unit. Moreover, a Governmental
Unit may not deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or
other similar grant to the Debtors based upon any requirement that the Debtors place a bond or
other surety obligation with such governmental unit as a condition of receipt of such a license,
permit, charter, franchise, or other similar grant to the Debtors.

       11.7 Preservation of Claims and Rights. Confirmation of this Plan effects no
settlement, compromise, waiver or release of any Claim, Cause of Action, Right of Action or
claim for relief unless this Plan or the Confirmation Order specifically and unambiguously so
provides. The non-disclosure or non-discussion of any particular Claim, Cause of Action, Right
of Action or claim for relief is not and shall not be construed as a settlement, compromise,
waiver, or release of any such Claim, Cause of Action, Right of Action or claim for relief.


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       The Debtors, the Liquidating Trust and the Liquidating Trustee reserve and retain
any and all claims and rights against any and all third parties, whether such claims and
rights arose before, on or after the Petition Date, the Confirmation Date, the Effective Date,
the Record Date and/or any Distribution date, including, without limitation, any and all
Causes of Action, Rights of Action and/or claims for relief that the Debtors, the Liquidating
Trustee or the Liquidating Trust may have against (i) any insurer and/or insurance policies
in which either the Debtors and/or their current or former personnel have an insurable or
other interest in or right to make a claim against, any other of the Debtors’ insurers; (ii)
any recipient of a transfer identified in the Debtors’ statements of financial affairs,
including any amendments thereto, filed in these Chapter 11 Cases based on Causes of
Action under chapter 5 of the Bankruptcy Code; or (iii) the parties set forth on the
attached Plan Exhibit 2 based on any Causes of Action, Rights of Action, Avoidance
Actions or claims for relief. The entry of the Confirmation Order shall not constitute res
judicata or otherwise bar, estop or inhibit any actions by the Debtors, the Liquidating
Trust or the Liquidating Trustee relating to any claims, Causes of Action or Rights of
Action referred to in this Article 11.7, or otherwise. Except as specifically set forth herein,
the Liquidating Trustee shall constitute the representative of the Estates for purposes of
retaining, asserting and/or enforcing Rights of Action under § 1123(b)(3)(B) of the
Bankruptcy Code. On the Effective Date, the Liquidating Trustee shall be substituted as a
party of record in all pending litigation brought by or against the Debtors without need for
further order of the Bankruptcy Court.

                                      ARTICLE 12
                               RETENTION OF JURISDICTION

        12.1 Exclusive Bankruptcy Court Jurisdiction. The Court shall retain and have
exclusive jurisdiction over these Chapter 11 Cases to the maximum extent provided by law for
the follow purposes following the Confirmation Date:

                12.1.1      To determine any and all objections to the allowance and classification
         of Claims or Interests;

                  12.1.2    To determine the validity and priority of any Lien;

                12.1.3      To determine the Allowed Amount of any Claim, whether secured or
         unsecured;

                12.1.4    To allow any and all applications for allowances of compensation and
         reimbursement of expenses payable from the Estates;

                 12.1.5    To determine any and all applications or motions pending before the
         Court on the Effective Date of the Plan, including without limitation any motions for the
         rejection, assumption or assumption and assignment of any executory contract or
         unexpired lease.




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                12.1.6     To consider and approve any modification of this Plan, remedy any
         defect or omission or reconcile any inconsistency in the Plan, or any order of the Court,
         including the Confirmation Order;

                 12.1.7     To hear and determine all controversies, suits and disputes that may
         arise in connection with the interpretation, enforcement or consummation of this Plan, the
         Confirmation Order, any transactions or payments contemplated hereby or any
         agreement, instrument or other document governing or related to any of the foregoing;

                12.1.8      To consider and act on the compromise and settlement of any claim or
         cause of action by or against the Debtors;

                 12.1.9      To issue orders in aid of execution and implementation of this Plan
         and the Confirmation Order, to the extent authorized by 11 U.S.C. § 1142 or provided by
         the terms of this Plan; and

                12.1.10    To hear and determine matters concerning federal, state or local taxes
         in accordance with §§ 346, 505 or 1146 of the Bankruptcy Code

       12.2 Limitation on Jurisdiction. In no event shall the provisions of this Plan be
deemed to confer in the Bankruptcy Court jurisdiction greater than that established by the
provisions of 28 U.S.C. §§ 157 and 1334.

                                        ARTICLE 13
                            CONDITIONS TO CONFIRMATION OF PLAN

        13.1 Conditions Precedent to Effective Date. The following are conditions precedent
to the occurrence of the Effective Date:

                 13.1.1      The Confirmation Order, in a form and in substance reasonably
         satisfactory to the Debtors, shall have been entered by the Bankruptcy Court;

                 13.1.2     The form of all documents necessary or appropriate to give effect to
         the transactions contemplated under the Plan, if any, have been approved and executed;

               13.1.3     The Foundation Sale shall have closed pursuant to the terms of the
         Foundation Purchase Agreement and Sale Order;

                13.1.4        All required consents, approvals, and authorizations, if any, have been
         obtained;

                  13.1.5      There shall be no stay of the Confirmation Order in effect; and

                13.1.6      All other actions, documents and agreements necessary to implement
         the Plan shall have been effected or executed.

        13.2 Annulment of Plan if Conditions Not Waived or Satisfied. The Debtors reserve
the right to waive any of the conditions precedent to the Effective Date. If any of the conditions

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precedent is not waived, and is not satisfied within the specified time periods or can no longer
occur, the Confirmation Order will be annulled and the Debtors and all parties in interest will
return to the status quo ante immediately before the entry of the Confirmation Order.

                                       ARTICLE 14
                                    NOTICE PROVISIONS

        14.1 Notices. All notices, requests, elections or demands in connection with this Plan,
including any change of address of any Creditor or Interest Holder for the purposes of receiving
Distributions under this Plan and to avoid forfeiting the same pursuant to Article 8 of this Plan,
shall be in writing and shall be delivered personally, by facsimile, overnight courier or first class
mail. Such notice shall be deemed to have been given when received or, if mailed by first class
mail, 5 Business Days after the date of mailing, or if by overnight courier, the next Business Day
following the date of mailing. Notices required to be sent to the following parties under this Plan
shall be addressed to:

         To the Liquidating Trust/Liquidating Trustee:




         To the Debtors:

         Joshua W. Wolfshohl
         Porter Hedges LLP
         1000 Main Street, 36th Floor
         Houston, Texas 77002
         Telephone: (713) 226-6000
         Facsimile: (713) 226-6295

         To the Committee:

         Elizabeth M. Guffy
         Locke Lord LLP
         2800 JPMorgan Chase Tower
         600 Travis
         Houston, Texas 77002
         Telephone: (713) 226-1328
         Facsimile: (713) 226-2647

        14.2 Limitation on Notice. The Debtors/Liquidating Trustee shall give the following
notice with regard to the following matters, which notice shall be deemed to be good and
sufficient notice of such matters with no requirement for any additional or further notice:

                 14.2.1     Notice of Entry of Effective Date. Notice of the Effective Date shall
         be sufficient if mailed to all known holders of Claims and Equity Interests (which have

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         not become Disallowed as of the date of mailing). Such notice shall be mailed within 5
         Business Days of the Effective Date. In addition, notice of the entry of the Effective Date
         shall be published in the Houston Chronicle, which such publication shall constitute
         constructive notice of the Effective Date.

                 14.2.2      Post Confirmation Date Service. From and after the date the
         Confirmation Order becomes a Final Order, notices of appearances and demands for
         service of process filed with the Court prior to such date shall no longer be effective. No
         further notices (other than notice of entry of the Confirmation Order) shall be required to
         be sent to any entities or Persons, except those Persons specified in Article 14.1 of this
         Plan, the Post-Confirmation Committee, the Office of the U.S. Trustee and any Creditor
         or Interest Holder who files a renewed request for service of pleadings and whose Claim
         has not been fully satisfied.

        14.3 General Notice To Creditors. All notices and requests to Creditors or Interest
Holders of any Class shall be sent to them at the addresses set forth on the proofs of claim or, if
no proof of claim was filed, to their last known address as reflected in the Debtors’ records. Any
Creditor or Interest Holder may designate in writing any other address for purposes of this
Article, which designation shall be effective upon receipt by the Liquidating Trustee.

                                    ARTICLE 15
                            COMPROMISES AND SETTLEMENTS

        15.1 Effect of Confirmation Order. Pursuant to § 363 of the Bankruptcy Code and
Bankruptcy Rule 9019, and in consideration for the classification, distribution and other benefits
provided under the Plan, the provisions of the Plan shall constitute a good faith compromise and
settlement of all Claims, Interests and controversies resolved pursuant to the Plan, including,
without limitation, all Claims arising prior to the Effective Date, whether known or unknown,
foreseen or unforeseen, asserted or unasserted, arising out of, relating to or in connection with
the business or affairs of, or transactions with, the Debtors. The entry of the Confirmation Order
shall constitute the Bankruptcy Court’s approval of each of the foregoing compromises or
settlements, and all other compromises and settlements provided for in the Plan, and the
Bankruptcy Court’s findings shall constitute its determination that such compromises and
settlements are in the best interests of the Debtors, the Estates, Creditors and other parties in
interest, and are fair, equitable and within the range of reasonableness.

                                      ARTICLE 16
                               MISCELLANEOUS PROVISIONS

        16.1 Bar Date for Administrative Claims. No Administrative Claim, other than
Professional Fees and United States Trustee fees, will be paid unless the holder of such
Administrative Claim has filed an application for payment of such Administrative Claim on or
before the Administrative Claim Bar Date. Upon the filing of any application for payment, the
entity seeking payment of an Administrative Claim shall provide notice by United States Mail in
accordance with the Bankruptcy Rules. Any Administrative Claim, other than Professional Fees
and United States Trustee fees, not filed in accordance with this section shall be barred and the


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Debtors, the Liquidating Trust and the Liquidating Trustee shall have no liability for payment of
any such Administrative Claim.

        16.2 Objections to Administrative Claims. Objections to Applications for payment of
Administrative Claims may be filed by any party in interest. In order to be considered, such
objections must be filed on or before the 21st day following the date on which the application
was filed. Any objections will be determined by the Bankruptcy Court.

        16.3 Payment of Professional Fees. Each holder of a Professional Fee Claim shall be
paid in respect of such Professional Fee Claim in Cash, in full, on the Effective Date, or, if such
Claim has not been approved by the Bankruptcy Court on or before the Effective Date, promptly
after Bankruptcy Court approval of the Professional Fee Claim by a Final Order. Final fee
applications for any Professional Fee Claim that has not been approved as of the Effective Date
shall be filed within forty-five (45) days of the Effective Date and such applications and
objections thereto (if any) shall be filed in accordance with and comply in all respects with the
Bankruptcy Code, the Bankruptcy Rules, applicable local rules, and the Fee Procedures Order.
The failure to file an application by the foregoing deadline shall constitute a waiver of all such
Professional Fee Claim.

       16.4 Payment of United States Trustee Fees. Within thirty (30) days of the date that
such payments are due, the Liquidating Trustee shall pay all amounts owing to the United States
Trustee as fees and costs imposed in connection with these Chapter 11 Cases.

        16.5 No Substantive Consolidation. The Plan is a joint plan but does not provide for
substantive consolidation of the Debtors or their Estates. On the Effective Date, the Estates shall
not be deemed to be substantively consolidated for any purpose. Except as specifically set forth
herein, nothing in this Plan, the Disclosure Statement or otherwise shall constitute or be deemed
to constitute an admission that any one of the Debtors is subject to or liable for any Claim against
any other Debtor. Creditors holding Claims against multiple Debtors, to the extent Allowed in
each Debtor’s Chapter 11 Case, will be treated as holding a separate Claim against each Debtor,
provided, however, that no holder of an Allowed Claim shall be entitled to receive more than
payment in full of such Allowed Claim (plus post-petition interest, if and to the extent provided
in this Plan), and such Claims will be administered and treated in the manner provided in this
Plan.

        16.6 Employee Benefit Plans. Unless terminated earlier under the terms of the
Foundation Purchase Agreement, prior to thirty (30) days after to the Effective Date, all
Employee Benefit Plans shall be terminated in accordance with the applicable provisions of the
state and federal law.

       16.7 Directive to State Agencies. At such time as any of the Debtors or Liquidating
Trustee file articles of dissolution, all governmental agencies are directed to accept such articles
and recognize the dissolution of the Debtors regardless of whether all Claims, including taxes
have been paid in full. For purposes of dissolution, the transfer of the Net Sales Proceeds and
Other Property to the Liquidating Trust under the Plan constitutes satisfaction in full of all
outstanding liabilities.


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        16.8 Satisfaction of Liabilities. The rights afforded in the Plan and the treatment of all
Claims and Interests herein shall be in exchange for and in complete satisfaction and release of
all Claims and Interests of any nature whatsoever against the Debtors or any of their Estates,
assets, properties, or interests in property.

      16.9 Warranty of Transfers from Liquidating Trust. All property to be transferred
by the Liquidating Trustee on behalf of the Liquidating Trust to any person or entity
under this Plan, is transferred “as is, where is,” with no representation or warranty of any
kind except that all transfers shall be transferred free and clear of all liens, claims and
encumbrances pursuant to 11 U.S.C. § 363(f) and 11 U.S.C. § 1123(a)(5).

        16.10 Compliance with Tax Requirements. In connection with each distribution with
respect to which the filing of an information return (such as an Internal Revenue Service Form
1099 or 1042) or withholding is required, the Liquidating Trustee shall file such information
return with the Internal Revenue Service and provide any required statements in connection
therewith to the recipients of such distribution or effect any such withholding and deposit all
moneys so withheld as required by law. With respect to any Person from whom a tax
identification number, certified tax identification number or other tax information required by
law to avoid withholding has not been received by the Liquidating Trustee within thirty (30)
days from the date of such request, the Liquidating Trustee may, at its option, withhold the
amount required and distribute the balance to such Person or decline to make such distribution
until the information is received.

       16.11 Amendment of the Plan. This Plan may be amended or modified by the Debtors
before, or by the Liquidating Trustee after the Effective Date, as provided in § 1127 of the
Bankruptcy Code.

        16.12 Timing of Distributions. Unless otherwise specified herein, all payments and
Distributions shall be made on a Payment Date determined by the Liquidating Trustee after
consultation with the Post-Confirmation Committee. When a provision of this Plan requires that
a payment shall be made on a certain date, such payment may be made (i) at any time prior to the
date on which such payment is due; (ii) in more frequent intervals than set forth in such
provision of the Plan; or (iii) not more than 14 days after the date any such payment is due.
Notwithstanding the foregoing, no payment shall be considered late or otherwise result in a
default unless the Liquidating Trustee has failed to make the payment after the passage of 30
days following the receipt by the Liquidating Trustee of a written notice advising that a payment
has not been received in accordance with the times set forth in this paragraph.

        16.13 Enforcement of Subordination Agreements/Settlement Agreements. Any written
(i) subordination agreement between holders of Allowed Claims; and (ii) settlements approved
by the Bankruptcy Court during these Chapter 11 Cases will be honored according to their terms
for the purposes of distribution under this Plan.

       16.14 Filing of Documents in Public Records. Pursuant to § 1146 of the Bankruptcy
Code, the issuance, transfer or exchange of a security or the making of an instrument of transfer
under this Plan (including without limitation the filing of any mortgage, deed of trust, security
agreement, uniform commercial code financing statement or other similar document) shall not be

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taxed under any law imposing a stamp tax or similar tax. All state or local governmental
officials or agents are hereby directed to forego the collection of any such tax or governmental
assessment and to accept for Filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.

        16.15 Right to Seek Further Orders. The Debtors and the Liquidating Trustee, if and to
the extent necessary, will seek such orders, judgments, injunctions, regulatory approvals, and
rulings that may be required to carry out and further the intentions and purposes, and give full
effect to the provisions, of the Plan.

       16.16 Intercompany Claims. All Intercompany Claims, if any, are waived, released and
extinguished as of the Effective Date and shall receive no distributions under the Plan.

       16.17 Regulatory Approvals. As the Plan is not intended to modify or supplant any
regulatory authority over the Debtors or the Liquidating Trust, all regulatory approvals required
in connection with the Plan will be sought and obtained.

        16.18 Withdrawal of Plan. Upon termination of the Foundation Purchase Agreement in
accordance with its terms and satisfaction of the Debtors’ obligations thereunder, if any, the
Debtors reserve the right to withdraw this Plan at any time prior to the Confirmation Date. If the
Debtors withdraw this Plan prior to the Confirmation Date, or if the Confirmation Date or the
Effective Date does not occur, then this Plan shall be deemed null and void. In such event,
nothing contained herein shall be deemed to constitute an admission, waiver or release of any
Claims by or against the Debtors, the Estates or any other person, or to prejudice in any manner
the rights of the Debtors, the Estates or any person in any further Legal Proceedings involving
the Debtors.

        16.19 Due Authorization by Creditors. Each and every Creditor who elects to
participate in the Distributions provided for herein (i) warrants that it is authorized to accept in
consideration of its Claim against the Debtors the Distributions provided for in this Plan; (ii)
states that there are no outstanding commitments, agreements, or understandings, express or
implied, that may or can in any way defeat or modify the rights conveyed or obligations
undertaken by it under this Plan; and (iii) indemnifies and holds harmless the Liquidating Trust,
the Post-Confirmation Committee, the Liquidating Trustee and their professionals and
representatives with respect to such Distributions.

       16.20 Filing of Additional Documentation. On or before the Effective Date, the Debtors
may file with the Bankruptcy Court such agreements and other documents as may be necessary
or appropriate to effectuate and further evidence the terms and conditions of this Plan.

        16.21 Implementation. The Debtors, the Liquidating Trust and the Liquidating Trustee
shall be authorized to perform all reasonable, necessary and authorized acts to consummate the
terms and conditions of the Plan.

       16.22 Substantial Consummation. On the Effective Date, the Plan shall be deemed to be
substantially consummated under Bankruptcy Code §§ 1101 and 1127(b).



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        16.23 Further Effect of Confirmation. Confirmation of this Plan effects no settlement,
compromise, waiver or release of any Claim or cause of action unless this Plan or the
Confirmation Order specifically so provides. The non-disclosure or non-discussion of any
particular Claim or cause of action is not and shall not be construed as a settlement, compromise,
waiver, or release of any such Claim or cause of action.

        16.24 Reservation of Claims. The Debtors, the Liquidating Trust and the Liquidating
Trustee reserve any and all claims and rights against any and all third parties, whether such
claims and rights arose before, on or after the Petition Date, the Confirmation Date, the Effective
Date, the Record Date and/or any Distribution Date, including, without limitation, any and all
Claims and Causes of Action for relief that the Debtors, the Liquidating Trust or the Liquidating
Trustee may have against any director, officer, any insurer under any insurance policy, or any
other person or entity. The entry of the Confirmation Order shall not constitute res judicata or
otherwise bar, estop or inhibit any actions by the Debtors, the Liquidating Trust or the
Liquidating Trustee relating to any Claims or Causes of Action. The Liquidating Trustee shall
constitute the representative of the Liquidating Trust for purposes of asserting and/or enforcing
Claims and Causes of Action under § 1123(b)(3)(B) of the Bankruptcy Code.

       16.25 Dates. The provisions of Bankruptcy Rule 9006 shall govern the calculation of
any dates or deadlines referenced in the Plan.

        16.26 Governing Law. Except to the extent that the Bankruptcy Code or Bankruptcy
Rules are applicable, the rights and obligations arising under the Plan shall be governed by, and
construed and enforced in accordance with, the laws of the State of Texas, without giving effect
to any conflicts of law principles.

       16.27 Conflict. Except as otherwise provided in the Plan, to the extent the Confirmation
Order and/or this Plan are inconsistent with the Disclosure Statement, any other agreement
entered into between the Debtors and any third party, the Plan controls the Disclosure Statement
and any such agreements and the Confirmation Order (and any other orders of the Bankruptcy
Court) controls the Plan. To the extent that the Plan or the Confirmation Order conflicts with the
Liquidating Trust Agreement, first, the Plan shall control the Liquidating Trustee Agreement and
the Confirmation Order shall control the Plan. To the extent the Foundation Purchase
Agreement is inconsistent with the Disclosure Statement or any other agreement entered into
between the Debtors and any third party, the Foundation Purchase Agreement shall control.

       16.28 Severability. The provisions of this Plan shall not be severable unless such
severance is agreed to by the Debtors and such severance would constitute a permissible
modification of this Plan pursuant to § 1127 of the Bankruptcy Code.

        16.29 Setoffs. The Liquidating Trustee may, but shall not be required to, set off against
any Claims and the payments or Distributions to be made pursuant to the Plan in respect of such
Claims, any and all debts, liabilities and claims of every type and nature whatsoever that the
Estates or the Liquidating Trust may have against the Holder of any Claim, but neither the failure
to do so nor the Allowance of any such Claims, whether pursuant to the Plan or otherwise, shall
constitute a waiver or release by the Liquidating Trustee or the Liquidating Trust of any such


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claims they may have against such Holder of any Claim, and all such claims shall be reserved for
and retained by the Liquidating Trustee.

       16.30 Further Action. Nothing contained in the Plan shall prevent Debtors, the
Liquidating Trust or the Liquidating Trustee from taking such actions as may be necessary to
consummate the Plan, even though such actions may not specifically be provided for within the
Plan.


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